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                        ROCKY MOUNTAIN CHOCOLATE FACTORY

                              FRANCHISE AGREEMENT




                                           Franchisee: Aaron Blackmer, Rachelle
                                                     Blackmer, Bruce Blackmer, Candice
                                                     Blackmer and ARCB LLC


                                           Date: she         4 21
                                           Franchjsed Location: Spokane, Washington




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                                                                            EXHIBIT A
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        EXHIBITS
L      Addendum to Franchise Agreement - Location Approval
II.    Personal Guaranty
III.   Statement of Ownership
IV.    Authorization Agreement for Electronic Funds Transfers
V.     Permit, License and Construction Certificate
VI.    Confidentiality and Noncompetition Agreement




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                         ROCKY MOUNTAIN CHOCOLATE FACTORY, INC.
                                  FRANCHISE AGREEMENT

           THIS AGREEMENT       (the “Agreement”) is made this       LH day of     Mach            ,20_l/ , by
and between ROCKY       MOUNTAIN         CHOCOLATE        FACTORY,    INC., a Colorado corporation, located at
265 Turner Drive, Durango, Colorado 81303 (the “Franchisor”) and Aaron L. Blackmer, Rachelle A.
Blackmer, Bruce E. Blackmer and Candice L. Blackmer, individually and ARCB LLC, a
Washington Limited Liability Company, located at 9608 E. Rockcrest Lane, Spokane, Washington
99206 (the “Franchisee™), who, on the basis of the following understandings and agreements, agree as
follows:

                                             1.      PURPOSE

1.1        The Franchisor has developed methods for establishing, operating and promoting retail stores
selling    gourmet chocolates and other premium confectionery products ("ROCKY MOUNTAIN
CHOCOLATE           FACTORY      Stores”   or “Stores”)    using the service mark    “ROCKY      MOUNTAIN
CHOCOLATE FACTORY” and related trade names and trademarks (“Marks”)                      and the Franchisor’s
proprietary methods of doing business (the “Licensed Methods).

1.2  The Franchisor grants the right to others to develop and operate ROCKY                      MOUNTAIN
CHOCOLATE FACTORY Stores, under the Marks and pursuant to the Licensed Methods.

1.3      The Franchisee desires to establish a ROCKY MOUNTAIN CHOCOLATE FACTORY Store at
a location identified herein or to be later identified, and the Franchisor desires to grant the Franchisee the
right to operate    a ROCKY   MOUNTAIN       CHOCOLATE         FACTORY      Store at such location under the
terms and conditions which are contained in this Agreement.

                                    2.       GRANT OF FRANCHISE

2.1      Grant of Franchise. The Franchisor grants to the Franchisee, and the Franchisee accepts from
the Franchisor, the right to use the Marks and Licensed Methods in connection with the establishment and
operation of a ROCKY MOUNTAIN CHOCOLATE FACTORY Store, at the location described in
Article 3 of this Agreement. The Franchisee agrees to use the Marks and Licensed Methods, as they may
be changed, improved, and further developed by the Franchisor from time to time, only in accordance
with the terms and conditions of this Agreement.

2.2        Scope of Franchise Operations.     The Franchisee agrees at all times to faithfully, honestly and
diligently perform the Franchisee’s obligations hereunder, and to continuously exert best efforts to
promote the ROCKY MOUNTAIN CHOCOLATE FACTORY Store. The Franchisee agrees to utilize
the Marks and Licensed Methods to operate all aspects of the business franchised hereunder in
accordance with the methods and systems developed and prescribed from time to time by the Franchisor,
all of which are a part of the Licensed Methods. The Franchisee’s ROCKY MOUNTAIN CHOCOLATE
FACTORY Store shall offer such products and services as the Franchisor shall designate and shall be
restricted from manufacturing, offering or selling any products or services not previously approved by the
Franchisor in writing. The Franchisee is required to devote a minimum of 50% of all retail display space
to ROCKY MOUNTAIN CHOCOLATE FACTORY brand assorted bulk chocolates and boxed and
packaged candies. The Franchisee’s ROCKY MOUNTAIN CHOCOLATE FACTORY Store must
feature ROCKY MOUNTAIN CHOCOLATE FACTORY brand candy manufactured by the Franchisor
or its designees and sold by the Franchisor (“Factory Candy”) and related nonconfectionery items




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(“Items”) approved by the Franchisor in writing.         Depending on the retail environment and the
configuration of the Store, the Franchisee may also be permitted to make, offer and sell confections made
in the Store, including caramel-covered apples and candy-covered apples (“Store Candy”) prepared in
accordance with recipes and processes set forth in the Operations Manual, as that term is defined in
Section 8.1. Some Stores do not offer Store Candy.

                   3.       FRANCHISED LOCATION AND DESIGNATED AREA

3.1  Franchised Location. The Franchisee is granted the right and franchise to own and operate one
ROCKY MOUNTAIN CHOCOLATE FACTORY Store at the address and location which shall be set
forth in Exhibit 1, attached hereto (“Franchised Location™). The type of Store configuration shall also be
set forth in Exhibit I, attached hereto.   Smaller Stores, regardless of their configuration, are referred to as
“Kiosks” or “Kiosk Stores” in this Agreement and all references to “Stores” shall be deemed to include
Kiosk Stores.

3.2     Limitation _on_ Franchise Rights; Relocation.        The rights that are hereby granted to the
Franchisee are for the specific Franchised Location and cannot be transferred to an alternative Franchised
Location, or any other location, without the prior written approval of the Franchisor. If the Franchisee has
operated a ROCKY MOUNTAIN CHOCOLATE FACTORY Store for not less than 12 months and
desires to relocate it to an alternative site, the Franchisee must set forth its reasons for requesting the
relocation in writing to the Franchisor, along with a proposed new location. The Franchisor will have 30
days from receipt of the Franchisees written request to respond. If the Franchisor approves the relocation
and the proposed new location, and if the ownership of the Franchisor determines that the Franchisee does
not change in any respect from the ownership of the Franchisee before the relocation, then the Franchisee
may move its Store to the new approved location, provided that the Franchisee signs the Franchisor’s then
current form of Franchise Agreement and opens the Store at the new location within 12 months after the
Store closes at its former Franchised Location. In addition, the Franchisee will be required to pay a
nonrefundable design fee of $2,500 to the Franchisor for the Franchisor’s Store designers to design the
layout of the Franchisee's new Store location.         A similar design fee will also apply if the Franchisor
determines that the Franchisee requires design assistance in remodeling its Store at any time during the
term of this Agreement. See Section 5.2 below. The Marks and Licensed Methods are licensed to the
Franchisee for the operation of the ROCKY MOUNTAIN CHOCOLATE FACTORY Store only at the
Franchised Location; therefore, the Franchisee may not operate food carts, participate in food festivals or
offer any other type of off-site food services using the Marks and Licensed Methods without the prior
written consent of the Franchisor, in which case the Franchisor and the Franchisee shall execute an
addendum to this Agreement relating to the operation of “Satellite Stores” (if this Agreement governs the
operation of a traditional Store, any Satellite Store(s) shall be governed by separate Franchise
Agreements) or “Temporary Stores.”

33      Franchisor’s Reservation of Rights. The Franchisee acknowledges that the franchise granted
hereunder is non-exclusive and that the Franchisor retains the rights, among others: (1) to use, and to
license others to use, the Marks and Licensed Methods for the operation of ROCKY                  MOUNTAIN
CHOCOLATE FACTORY Stores, Kiosk Stores, Satellite Stores and Temporary Stores, at any location
other than at the Franchised Location; (2) to use the Marks and Licensed Methods to identify services and
products, promotional and marketing efforts or related items, and to identify products and services similar
to or the same as those which the Franchisee will sell, but made available through alternative channels of
distribution other than through traditional ROCKY MOUNTAIN CHOCOLATE FACTORY Stores, at
any location other than at the Franchised Location, including, but not limited to, through Satellite Stores,
Temporary Stores, Kiosk Stores, co-branded Stores, by way of mail order, (including electronic mail
order), the Internet and Electronic Advertising, defined in Section 12.6, which includes blogs, and social




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media such as Facebook and Twitter, catalog, telemarketing, other direct marketing methods, television,
retail store display or through the wholesale sale of its products to unrelated retail outlets or to candy
distributors or outlets located in stadiums, arenas, airports, turnpike rest stops or supermarkets; and (3) to
use and license the use of other proprietary marks or methods in connection with the sale of products and
services similar to those which the Franchisee will sell or in connection with the operation of retail stores
selling gourmet chocolates or other premium confectionery products, at any location other than at the
Franchised Location, which stores are the same as, or similar to, or different from a traditional ROCKY
MOUNTAIN CHOCOLATE FACTORY Store or a Satellite Store, a Temporary Store or a Kiosk Store,
on any terms and conditions as the Franchisor deems advisable, and without granting the Franchisee any
rights therein.

                                          4.         INITIAL FEES

4.1      Initial Franchise Fee.    In consideration for the right to develop and operate one ROCKY
MOUNTAIN CHOCOLATE FACTORY Store, the Franchisee agrees to pay to the Franchisor an initial
franchise fee in the amount set forth in Exhibit I attached hereto, all of which is due and payable on the
date the Franchisee signs this Agreement.         The Franchisee acknowledges and agrees that the initial
franchise fee represents payment for the initial grant of the rights to use the Marks and Licensed Methods,
that the Franchisor has earned the initial franchise fee upon receipt thereof and that the fee is under no
circumstances refundable to the Franchisee after it is paid, except as set forth in Section 5.8 of this
Agreement.    If a transfer occurs, no initial franchise fee shall be due at the time that the Franchisee
transfers the Store to another party, but a transfer fee will apply as set forth in Section 16.2 of this
Agreement.

                         S.     DEVELOPMENT OF FRANCHISED LOCATION

5.1        Approval of Lease.   The Franchisee shall obtain the Franchisor’s prior written approval before
executing any lease or purchase agreement for the Franchised Location. Any lease for the Franchised
Location shall, at the option of the Franchisor, contain provisions including: (1) allowing for assignment
of the lease to the Franchisor in the event that this Agreement is terminated or not renewed for any
reason; (2) giving the Franchisor notice and the right to cure any default by the Franchisee under such
lease; (3) allowing the Franchisor to enter the premises to cure defaults under the Franchise Agreement if
the Franchisee fails to cure within a specified cure period or to protect the Marks and the Licensed
Methods; and (4) providing the Franchisor with the right, exercisable upon and as a condition of the
approval of the Franchised Location, to execute the lease agreement or other document providing
entitlement to the use of the Franchised Location in its own name or jointly with the Franchisee as lessee
and, upon the exercise of such option, the Franchisor shall provide the Franchisee with the right to use the
premises    as its sublessee, assignee, or other similar capacity upon the same terms and conditions as
obtained by the Franchisor. The Franchisee shall deliver a copy of the signed lease for the Franchised
Location to the Franchisor within 15 days of its execution. The Franchisee acknowledges that approval of
a lease for the Franchised Location by the Franchisor does not constitute a recommendation, endorsement
or guarantee by the Franchisor of the suitability of the location or the lease and the Franchisee should take
all steps necessary to ascertain whether such location and lease are acceptable to the Franchisee.

52       Conversion _and Design. The Franchisee acknowledges that the layout, design, decoration and
color scheme of ROCKY MOUNTAIN CHOCOLATE FACTORY Stores are an integral part of the
Franchisor’s proprietary Licensed Methods and accordingly, the Franchisee shall convert, design and
decorate the Franchised Location in accordance with the Franchisor’s plans and specifications which are
contained in a Design and Construction Manual that is considered, for the purposes of this Agreement, to
be a part of the Operations Manual, defined in Section 8.1. The Franchisee shall hire an approved or




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designated architect/designer to prepare written plans for the Store’s layout and construction, which plans
shall be submitted       to the Franchisor for its prior written approval.         Throughout     the term of this
Agreement,      the Franchisee    shall also obtain    the Franchisor’s   written consent   to any     remodeling    or
decoration of the premises before remodeling or decorating begins, recognizing that such remodeling,
decoration and any related costs are the Franchisee’s sole responsibility. If the Franchisee remodels its
Store or if the Franchisee relocates its Store at any time during the term of this Agreement, the Franchisee
shall pay the Franchisor $2,500 for the Franchisor’s review and approval of the new Store design.

5.3      Signs. The Franchisee shall purchase or otherwise obtain for use at the Franchised Location and
in connection with the ROCKY MOUNTAIN CHOCOLATE FACTORY Store, signs which comply with
the standards and specifications of the Franchisor as set forth in the Operations Manual, as that term is
defined in Section 8.1. It is the Franchisee’s sole responsibility to insure that any signs comply with
applicable local ordinances, building codes and zoning regulations.            Any modifications to the
Franchisor’s standards and specifications for signs that must be made due to local ordinances, codes or
regulations shall be submitted to the Franchisor for prior written approval. The Franchisee acknowledges
the Marks, or any other name, symbol or identifying marks on any signs shall only be used in accordance
with the Franchisor’s standards and specifications and only with the prior written approval of the
Franchisor.

54        Equipment.     The Franchisee shall purchase or otherwise obtain for use at the Franchised
Location and in connection with the ROCKY MOUNTAIN CHOCOLATE FACTORY Store, equipment
of a type and in an amount which complies with the standards and specifications of the Franchisor in
effect during the term of this Agreement.        The Franchisee acknowledges that the type, quality,
configuration, capability and/or performance of the equipment are all standards and specifications which
are a part of the Licensed Methods and therefore such equipment must be purchased, leased, or otherwise
obtained in accordance with the Franchisor’s standards and specifications and only from suppliers or
other sources designated or approved by the Franchisor. The Franchisee must purchase a facsimile
machine and connect it to a phone line that is separate from the main phone number for the Store or
maintain an electronic fax number that is connected to the Franchisee’s electronic mail address provided
by the Franchisor. The Franchisee shall equip the Store with an integrated store information system
(“ISIS System”), computer hardware and software, printers and other designated equipment consistent
with the standards and specifications of the Franchisor.        The Franchisor reserves the right to require the
Franchisee to purchase new and upgraded computer hardware components and software upon 30 days
prior written notice. The Franchisor requires that it be given reasonable access to information and data
regarding     the   Franchisees   ROCKY      MOUNTAIN         CHOCOLATE         FACTORY       Store     by   electronic
transmission using hardware and software that meet the Franchisor’s standards and specifications.                   The
Franchisee must purchase and maintain throughout the term of this Agreement a maintenance and support
agreement for the [SIS System with the Franchisor’s designated or approved supplier. The Franchisee
shall be responsible for ail maintenance costs associated with the computer hardware, the ISIS System
and the computer software. The Franchisor also requires the Franchisee to obtain and maintain an
account with an Internet service provider that meets the Franchisor’s standards and specifications to
facilitate electronic communication between the Franchisor and the Franchisee and among all ROCKY
MOUNTAIN CHOCOLATE                 FACTORY      franchisees, and to facilitate the Franchisor’s access to Store
operating information.

55      Electronic Communications.            The Franchisee shall obtain and maintain computer hardware,
software and an Internet connection meeting the Franchisor’s standards and specifications as they may
exist from time to time. The Franchisee agrees that the Franchisor may assign an electronic mail address
to the Franchisee and the Franchisee agrees to use such address to access messages                    and information
posted by the Franchisor and other ROCKY MOUNTAIN CHOCOLATE FACTORY franchise owners.




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The Franchisor may post information about the Franchisee’s Store on the Franchisor’s intranet system for
comparative analysis purposes.     The Franchisee agrees to participate in the Franchisor’s electronic
intranet system and to abide by the terms of use governing it. Information on the Franchisor’s intranet
system and the terms of use governing the Franchisor’s intranet system are deemed to be incorporated
into the terms of the Operations Manual and any violations of the terms of use will be treated as a
violation of the rules governing the Operations Manual.

5.6    Permits and Licenses. The Franchisee agrees to obtain all such permits and certifications as
may be required for the lawful construction and operation of the ROCKY MOUNTAIN CHOCOLATE
FACTORY Store together with all certifications from government authorities having jurisdiction over the
site, that all requirements for construction and operation have been met, including without limitation,
zoning, access, sign, health, safety requirements, building and other required construction permits,
licenses to do business and fictitious name registrations, sales tax permits, health and sanitation permits
and ratings and fire clearances. The Franchisee agrees to obtain all customary contractors’ sworn
statements and partial and final lien waivers for construction, remodeling, decorating and installation of
equipment at the Franchised Location. The Franchisee shall sign and deliver to the Franchisor the Permit,
License and Construction Certificate set forth as Exhibit V to this Agreement, to confirm Franchisee’s
compliance with the Americans with Disabilities Act and other provisions of this Section 5.6 not later
than 30 days prior to the date the Store begins operating. Copies of all inspection reports, warnings,
certificates   and   ratings   issued   by   any   governmental      entity   during   the   term    of this   Agreement   in
connection     with the conduct of the ROCKY               MOUNTAIN           CHOCOLATE             FACTORY     Store which
indicates the Franchisee’s failure to meet or maintain the highest governmental standards, or less than fuil
compliance by the Franchisee with any applicable law, rule or regulation, shall be forwarded to the
Franchisor within five days of the Franchisee’s receipt thereof.

5.7      Anti-Terrorism Representation.              The Franchisee represents to the Franchisor that it and all
persons or entities holding any legal or beneficial interest whatsoever in the Franchisee are not included
in, owned by, controlled by, acting for or on behalf of, providing assistance, support, sponsorship, or
services of any kind to, or otherwise associated with any of the persons or entities referred to or described
in Executive Order 13224-Blocking Property and Prohibiting Transactions with Persons Who Commit,
Threaten to Commit, or Support Terrorism, as amended.

5.8       Commencement of Operations. Unless otherwise agreed in writing by the Franchisor and the
Franchisee, the Franchisee has 180 days from the date of this Agreement within which to complete the
initial training program, described in Section 6.1 of this Agreement, develop the Franchised Location and
commence operation of the ROCKY MOUNTAIN CHOCOLATE FACTORY Store.                               Failure to
commence operations within this time frame shall constitute grounds for termination under Article 18 of
this Agreement. If this Agreement is terminated by the Franchisor for failure to commence operation of
the Store within applicable time limits, $5,000 of the initial franchise fee will be refunded to the
Franchisee. The Franchisor will extend the time in which the Franchisee has to commence operations for
a reasonable period of time in the event factors beyond the Franchisee’s reasonable control prevent the
Franchisee from meeting this development schedule, so long as the Franchisee has made reasonable and
continuing efforts to comply with such development obligations and the Franchisee requests, in writing,
an extension of time in which to have its ROCKY MOUNTAIN CHOCOLATE FACTORY Store
established before such development period lapses. However, notwithstanding the Franchisor’s written
agreement to extend the Franchisee’s development period, if more than 270 days elapse between the date
of this Agreement and the commencement of operation of the Store, the Franchisor reserves the right, in
its sole discretion, to require the Franchisee to execute the Franchisor’s then current form of Franchise
Agreement or an amendment to this Agreement to conform this Agreement with the terms of the then
current Franchise Agreement.




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                                                  6.           TRAINING

6.1        Initial   Training Program.       After the Franchisee executes a lease for the Franchised                       Location,
the Franchisee or, if the Franchisee is not an individual, the person designated by the Franchisee to
assume primary responsibility for the management of the ROCKY MOUNTAIN CHOCOLATE
FACTORY         Store, (“General      Manager”)         is required to attend and successfully complete the initial
training program which is offered by the Franchisor at one of the Franchisor’s designated training
facilities. Up to three individuals are eligible to participate in the Franchisor’s initial training program
without charge of a tuition or fee. The Franchisee shall be responsible for any and all traveling and living
expenses incurred in connection with attendance at the training program.                        At least one individual must
successfully complete the initial training program prior to the Franchisee’s commencement of operation
of its ROCKY MOUNTAIN CHOCOLATE FACTORY Store.

6.2      Length of Training. The initial training program shall consist of 7 days of instruction at a
location designated by the Franchisor; provided, however, that the Franchisor reserves the right to waive a
portion of the training program or alter the training schedule, if in the Franchisor’s sole discretion, the
Franchisee or General Manager has sufficient prior experience or training.

6.3        Additional Training,        From time to time, the Franchisor may present seminars, conventions or
continuing development programs or conduct meetings or webinars for the benefit of the Franchisee. The
Franchisee or its General Manager shall be required to attend any ongoing mandatory seminars, webinars,
conventions, programs or meetings as may be offered by the Franchisor. The Franchisor shall give the
Franchisee at least 30 days prior written notice of any ongoing seminar, convention or program that is
deemed mandatory.           The Franchisor shall not require that the Franchisee attend any ongoing training in
person more often than once a year. All mandatory training will be offered without charge of a tuition or
fee; provided, however, the Franchisee will be responsible for all traveling and living expenses which are
associated with attendance at the same.

                                     7.        DEVELOPMENT ASSISTANCE

7.1        Franchisor’s       Development     Assistance.         The    Franchisor   shall     provide      the Franchisee      with
assistance in the initial establishment of the ROCKY MOUNTAIN CHOCOLATE                                      FACTORY Store as
follows:

                    a.      Provision of the initial training program to be conducted at the Franchisor’s
           designated training facilities or at another location designated by the Franchisor, as described in
           Article 6 above.

                     b.        Provision   of written      guidelines    for a Franchised        Location      that shall    include,
           without limitation, specifications for space requirements and build out.      The Franchisee
           acknowledges that the Franchisor   shall have no other obligation to provide assistance in the
           selection and approval of a Franchised Location other than the provision of such written
           specifications and approval or disapproval of a proposed Franchised Location, which approval or
           disapproval shall be based on information submitted to the Franchisor in a form sufficient to
           assess the proposed location as may be required by the Franchisor, in the Franchisor’s sole
           discretion, and on information gathered by the Franchisor.

                     c.        Direction   regarding      the required       conversion,      design   and     decoration     of the
           ROCKY          MOUNTAIN    CHOCOLATE            FACTORY         Store premises, plus specifications concerning
           signs, seasonal graphics, music, decor and equipment.




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                 d.      Direction regarding the selection of suppliers of equipment, seasonal graphics,
         music, items and materials used and inventory offered for sale in connection with the ROCKY
         MOUNTAIN CHOCOLATE FACTORY Store. The Franchisor will determine the Franchisee’s
         initial inventory of Factory Candy that the Franchisee will purchase, depending on the size and
         configuration of the Store.             After execution of this Agreement, the Franchisor will provide the
         Franchisee with a list of approved suppliers, if any, of such equipment, items, seasonal graphics,
         music, materials and inventory and, if available, a description of any national or central purchase
         and supply agreements offered by such approved                          suppliers    for     the   benefit     of   ROCKY
         MOUNTAIN CHOCOLATE FACTORY franchisees.

                   e.          Provision of an Operations Manual in accordance with Section 8.1 below.

                  f.     As the Franchisor may reasonably schedule, and depending on availability of
         personnel, the Franchisor will make available to the Franchisee at or close to the opening of the
         Franchisee’s ROCKY MOUNTAIN CHOCOLATE FACTORY Store, a representative (“Site
         Representative) who will be present for up to five days beginning approximately three days
         prior to the opening of the Franchisee’s ROCKY MOUNTAIN CHOCOLATE FACTORY Store.
         If the Franchisee’s Store opens on or near a holiday, however, the Site Representative shall not
         begin the in-Store assistance until three days after the holiday. Holidays shall include, but not be
         limited to, New Years Day, Valentines Day, Easter, Memorial Day, Fourth of July, Labor Day,
         Thanksgiving, Hanukkah and Christmas.                      There will be no charge to the Franchisee for this
         service    provided     by   the    Franchisor.      The     Site   Representative    will     assist    the   Franchisee’s
         employees in opening the Store, unless in the Franchisor’s determination, the Franchisee or the
         General Manager have sufficient prior training or experience.

                                            8.        OPERATIONS MANUAL

8.1      Operations Manual. The Franchisor agrees to loan to the Franchisee one or more manuals,
technical bulletins, cookbooks and recipes and other written materials (collectively referred to as
“Operations Manual”) covering Factory Candy ordering, Store Candy manufacturing, processing and
stocking and other operating and in-store marketing techniques for the ROCKY MOUNTAIN
CHOCOLATE FACTORY Store. The Franchisee agrees that it shall comply with the Operations Manual
as an essential aspect of its obligations under this Agreement, that the Operations Manual shall be deemed
to be incorporated herein by reference and failure by the Franchisee to substantially comply with the
Operations Manual may be considered by the Franchisor to be a breach of this Agreement.           Upon the
expiration, transfer or termination of this Agreement for any reason, the Franchisee shall return to the
Franchisor, or transfer to an approved transferee, if applicable, all volumes of the manuals which together
comprise the Operations Manual.        Failure to return or transfer, as applicable, all volumes of the
Operations Manual in good condition, reasonable wear and tear excepted, shall cost the Franchisee $150
per volume, payable to the Franchisor upon demand.

8.2      Confidentiality of Operations Manual Contents. The Franchisee agrees to use the Marks and
Licensed Methods only as specified in the Operations Manual.         The Operations Manual is the sole
property of the Franchisor and shall be used by the Franchisee only during the term of this Agreement and
in strict accordance with the terms and conditions hereof. The Franchisee shall not duplicate the
Operations Manual nor disclose its contents to persons other than its employees or officers who have
signed the form of Confidentiality and Noncompetition Agreement attached hereto as Exhibit VI and
incorporated herein by reference. The Franchisee shall return the Operations Manual to the Franchisor
upon the expiration, termination or transfer of this Agreement.




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8.3      Changes to Operations Manual. The Franchisor reserves the right to revise the Operations
Manual from time to time as it deems necessary to update or change operating and marketing techniques,
standards and specifications for all components of the Licensed Methods and approved Factory Candy,
Items and Store Candy offered by Stores. The Franchisee, within 30 days of receiving any updated
information, shall in turn update its copy of the Operations Manual as instructed by the Franchisor and
shall conform its operations with the updated provisions within a reasonable time after receipt of such
updated information.     The Franchisee acknowledges that a master copy of the Operations Manual
maintained by the Franchisor at its principal office shall be controlling in the event of a dispute relative to
the content of any Operations Manual.

                                      9.         OPERATING ASSISTANCE

9.1      Franchisor’s Services.        The Franchisor agrees that, during the Franchisee’s operation of the
ROCKY      MOUNTAIN           CHOCOLATE          FACTORY      Store,    the Franchisor      shall    make     available to the
Franchisee the following services:

                  a.      Upon the reasonable request of the Franchisee, consultation by telephone and
         electronic mail regarding the continued operation and management of a ROCKY MOUNTAIN
         CHOCOLATE FACTORY Store and advice regarding the retail services, product quality control,
         inventory issues, customer relations issues and similar advice.

                  b.      Access to advertising and promotional materials as may be developed by the
         Franchisor, the cost of which may be passed on to the Franchisee at the Franchisor’s option.

                 C.           On-going updates of information and programs regarding the candy industry, the
         ROCKY         MOUNTAIN       CHOCOLATE           FACTORY           concept   and    related     Licensed     Methods,
         including, without limitation, information about special or new products which may be developed
         and made available to ROCKY MOUNTAIN CHOCOLATE FACTORY franchisees.

                  d.        Depending on availability, allow replacement or additional General Managers to
         attend the initial training program. The Franchisor reserves the right to charge a tuition or fee in
         an amount payable in advance, commensurate with the Franchisor’s then current published prices
         for such training. The Franchisee shall be responsible for all travel and living expenses incurred
         by its personnel during the training program. Further, the availability of the training program
         shall be subject to space considerations and prior commitments to new ROCKY MOUNTAIN
         CHOCOLATE FACTORY franchisees.

9.2      Additional Franchisor Services.           Although not obligated to do so, upon the reasonable request
of the   Franchisee,    the   Franchisor   may    make   its employees        or designated         agents    available   to the
Franchisee for on-site advice and assistance in connection with the on-going operation of the ROCKY
MOUNTAIN CHOCOLATE FACTORY Store governed by this Agreement.                          In the event that the
Franchisee requests such additional assistance and the Franchisor agrees to provide the same, the
Franchisor reserves the right to charge the Franchisee for all travel, lodging, living expenses, telephone
charges and other identifiable expenses associated with such assistance, plus a fee based on the time spent
by each employee on behalf of the Franchisee, which fee will be charged in accordance with the then
current daily or hourly rates being charged by the Franchisor for assistance.




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                        10.          FRANCHISEE’S OPERATIONAL                     COVENANTS

10.1     Store Operations.          The Franchisee acknowledges that it is solely responsible for the successful
operation of its ROCKY              MOUNTAIN CHOCOLATE FACTORY Store and that the continued
successful operation thereof is, in part, dependent upon the Franchisees compliance with this Agreement
and the Operations Manual. In addition to all other obligations contained in this Agreement and in the
Operations Manual, the Franchisee covenants that:

                  a.          The    Franchisee   shall   maintain     clean,   efficient   and   high    quality    ROCKY
        MOUNTAIN         CHOCOLATE            FACTORY         Store operations and shall operate the business in
        accordance with the Operations Manual and in such a manner as not to detract from or adversely
        reflect upon the name and reputation of the Franchisor and the goodwill associated with the
        ROCKY MOUNTAIN CHOCOLATE FACTORY name and Marks.

              b.            The   Franchisee  will operate its ROCKY          MOUNTAIN        CHOCOLATE
        FACTORY        Store in compliance with all applicable laws, health department regulations and other
        ordinances.     In connection therewith, the Franchisee will be solely and fully responsible for
        obtaining any and all licenses to operate the ROCKY MOUNTAIN CHOCOLATE FACTORY
        Store. The Franchisee shall promptly forward to the Franchisor copies of all health department,
        fire department, building department and other similar reports of inspections as and when they
        become available.

                 C.     The Franchisee and all persons who work behind the counter at the Store in any
        capacity, whether or not they are employees of the Franchisee (“Personnel”), shall conduct
        themselves in such a manner so as to promote a good image to the public and to the business
        community.    At no time shall any of the Personnel engage in unreasonable or disrespectful
        behavior toward anyone, including using offensive or rude language or gestures. The Franchisee
        shall at all times require its Personnel to follow the Code of Conduct as set forth in the Operations
        Manual.

                 d.     The Franchisee acknowledges that proper management of the ROCKY
        MOUNTAIN CHOCOLATE FACTORY Store is important and shall insure that the Franchisee
        or a designated General Manager who has completed the Franchisor’s initial training program be
        responsible for the management of the ROCKY MOUNTAIN CHOCOLATE FACTORY Store
        after commencement of Store operations                and    be present    at the Franchised      Location    during
        operation of the Store.

                 e.      The Franchisee shall offer only authorized products and services as are more
        fully described in the vendor lists which are a part of the Operations Manual, which may include,
        without limitation, Factory Candy, Store Candy, Items and other authorized confectionery food
        and beverage products. Further, the Franchisee shall operate the Store using only those supplies,
        equipment, ingredients, signs, décor, music and methods which are described in the Operations
        Manual, The Franchisee shall offer only the types of products and services as from time to time
        may be prescribed by the Franchisor and shall refrain from offering any other types of products or
        services, from or through the ROCKY MOUNTAIN CHOCOLATE FACTORY Store, including,
        without limitation, filling “Wholesale Orders,” defined below, selling Factory Candy, Store
        Candy, Items or other authorized products through the Internet, or catering or other off-premises
        sales, without the prior written consent of the Franchisor. “Wholesale Orders” are defined as
        those orders or sales where the principal purpose of the purchase is for resale, not consumption,
        or any sale other than those sold over the counter at a price other than that price charged to the




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        general public; provided, however, that volume discounted sales made on the premises at the
        Franchised Location to a single purchaser, not for resale, and discounted sales made on the
        premises at the Franchised Location to charitable organizations for fund-raising purposes shall be
        permitted. Factory Candy, Store Candy and Items shall never be sold in containers or bags other
        than those approved and supplied by the Franchisor or other supplier approved by the Franchisor.

                 f.       The Franchisee shall promptly pay when due all taxes and other obligations owed
        to third parties in the operation of the ROCKY MOUNTAIN CHOCOLATE FACTORY Store,
        including without limitation, unemployment and sales taxes, and any and all accounts or other
        indebtedness       of every kind incurred by the Franchisee in the conduct of the ROCKY
        MOUNTAIN           CHOCOLATE FACTORY Store. In the event of a bona fide dispute as to the
       liability for taxes assessed or other indebtedness, the Franchisee may contest the validity or the
       amount of the tax or indebtedness in accordance with procedures of the taxing authority or
       applicable law; however, in no event shall the Franchisee permit a tax sale or seizure by levy or
       execution or similar writ or warrant, or attachment by a creditor to occur against the premises of
       the Franchised Location, or any improvement thereon.

               g.       The Franchisee agrees to notify the Franchisor within 15 days of receipt of
       claims or service of process that the Franchisee has been named in a lawsuit or arbitration or that
       claims have been made against it that in any way involve, relate to or affect the franchise, the
       Store or the assets of the Store. Notice will include a copy of the complaint or claims and the
       Franchisees proposed response.

                h.      The Franchisee shall subscribe for and maintain not fewer than two or three
       separate telephone numbers for its ROCKY MOUNTAIN CHOCOLATE FACTORY Store at the
       Franchised Location, depending on the size and configuration of the Store or Kiosk. One number
       shall be used exclusively for voice communication, the second shall be used exclusively for the
        modem that is included in the ISIS System.                     If a third telephone number is required, it shall be
       used exclusively for a facsimile machine.                   The telephone number and, if applicable, the facsimile
        machine        number,     shall   be   listed    and    identified   exclusively        with   the   ROCKY     MOUNTAIN
       CHOCOLATE             FACTORY            Store in all official telephone directories and in all advertising in
       which such numbers appear and shall be separate and distinct from all other telephone numbers
       subscribed for by the Franchisee.

                i.      The Franchisee shall comply with all agreements with third parties related to the
       ROCKY MOUNTAIN CHOCOLATE FACTORY Store including, in particular, all provisions of
       any lease for the Franchised Location.

              J      The Franchisee and all employees of the Franchisee shall adhere to strict
       grooming and dress code guidelines, as described in the Code of Conduct set forth in the
       Operations Manual, while on duty at the Franchised Location.                              The Franchisee is required, at the
        Franchisee’s expense, to purchase specified apparel from suppliers approved by the Franchisor.
        All General Managers, employees of the Franchisee, the Franchisee and its owners shall wear the
        specified apparel at all times while working at the Franchised Location. The Franchisor has the
       right, in its sole and absolute discretion, to change or modify such grooming and dress code
       guidelines in the Operations Manual.

                  k.         The     Franchisee      agrees      to renovate,       refurbish,    remodel     or replace,   at its own
       expense, the personal property and equipment used in the operation of the ROCKY MOUNTAIN
       CHOCOLATE FACTORY Store, when reasonably required by the Franchisor in order to comply




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        with the image, standards of operation and performance capability established by the Franchisor
        from time to time. If the Franchisor changes its image or standards of operation, it shall give the
        Franchisee a reasonable period of time within which to comply with such changes.

                l.      The Franchisee shall be responsible for training all of its Personnel who work in
        any capacity in the ROCKY MOUNTAIN CHOCOLATE FACTORY Store. The Franchisee
        must conduct its Personnel training in the manner and according to the standards as prescribed in
        the Operations Manual. All Personnel who do not satisfactorily complete the training shall not
        work     in any capacity   in the Franchisee’s      ROCKY          MOUNTAIN         CHOCOLATE            FACTORY
        Store.

                m.      The Franchisee shall at all times during the term of this Agreement own and
        control the ROCKY MOUNTAIN CHOCOLATE FACTORY Store authorized hereunder. The
        Franchisee shall not operate any other business or profession from or through the Store. If the
        Franchisee is an entity, the entity shall only operate the ROCKY                  MOUNTAIN           CHOCOLATE
        FACTORY         Store governed   by this Agreement         and no other business,           unless   the Franchisee
        receives the Franchisor’s prior written approval. Upon request of the Franchisor, the Franchisee
        shall promptly provide satisfactory proof of such ownership to the Franchisor. The Franchisee
        represents that the Statement of Ownership, attached hereto as Exhibit III and by this reference
        incorporated herein, is true, complete, accurate and not misleading, and, in accordance with the
        information contained in the Statement of Ownership, the controlling ownership of the ROCKY
        MOUNTAIN         CHOCOLATE        FACTORY        Store is held by the Franchisee.            The Franchisee shall
        promptly provide the Franchisor with a written notification if the information contained in the
        Statement of Ownership changes at any time during the term of this Agreement and shall comply
        with the applicable transfer provisions contained in Article 16 herein.      In addition, if the
        Franchisee is an entity, all of the owners of the Franchisee shall sign the Personal Guaranty
        attached hereto as Exhibit II.

                  n.       The   Franchisee   shall at all times during the term of this Agreement                      keep its
        ROCKY          MOUNTAIN      CHOCOLATE          FACTORY            Store   open    during     the    business     hours
        designated by the Franchisor from time to time in the Operations Manual.

10.2    Factory Candy      Purchases.    The Franchisee shall, during the term of this Agreement,                 maintain a
sufficient inventory of Factory Candy and related products, to allow it to meet customer demands for the
products offered by      a ROCKY    MOUNTAIN        CHOCOLATE              FACTORY        Store and in compliance with
the Franchisor’s standards and specifications as may be described in the Operations Manual from time to
time.   The Franchisee     agrees to purchase exclusively        from the Franchisor or from its designated or
approved suppliers, all of the Factory Candy and ingredients for making Store Candy and all related
products required for the Franchisee’s operation of the Store, as may be offered for sale by the Franchisor
or its designated or approved suppliers from time to time.

10.3   Payment for Factory Candy. Unless notified in writing otherwise by the Franchisor, all Factory
Candy and related products shall be sold and shipped to the Franchisee on a net 30-day basis, or
according to the then current payment terms set by the Franchisor or its designated suppliers. The
Franchisor reserves the right to charge interest at the rate of 1.5% per month if the Franchisee fails to pay
for its orders on time and the Franchisor reserves the right to discontinue shipment of Factory Candy and
related products to the Franchisee if the Franchisee is repeatedly delinquent in paying for its Factory
Candy and related products, in the Franchisor’s sole discretion. The Franchisee may be required to
“prepay” Factory Candy orders, notwithstanding the payment policy set forth above, in the event of poor
payment performance. The Franchisor reserves the right to change payment terms and policies at any




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time.   The Franchisor also reserves the right to change the prices for Factory Candy and related products
from time to time as may be set forth in the most recent price bulletin sent to all franchisees or the then
current Operations Manual,

10.4     Limitations on Supply Obligations. The delivery of Factory Candy and related products by the
Franchisor or its designated suppliers is subject to and conditioned upon availability. Nothing in this
Agreement shall be construed by the Franchisee to be a promise or guarantee by the Franchisor as to the
continued existence of any particular Factory Candy or related product, nor shall any provision herein
imply or establish an obligation on the part of the Franchisor and its designated suppliers to sell Factory
Candy and related products to the Franchisee if the Franchisee is in arrears on any payment to the
Franchisor and its designated suppliers or otherwise in default under this Agreement.

10.5     Changes     in Products.     The    Franchisee    understands       that the Franchisor and    its designated
suppliers shall have the right, at any time and without notice, to add items to, or withdraw items from, the
list of Factory Candy and related products; to add to or delete from the list of designated suppliers of
Factory Candy      and   related products;   to change     the formulation      of any   particular Factory   Candy     or
product; and to change the prices, discounts or terms of sale of any Factory Candy or product; provided,
however, no such changes in prices, discounts or terms shall affect accepted orders pending with the
Franchisor and its designated suppliers at the time of change.              No such changes will give the Franchisee
the right to recover damages against, or be reimbursed by, the Franchisor and its designated suppliers for
any losses suffered by the Franchisee.

                                               11.        ROYALTIES

11.1     Monthly Royalty.       The Franchisee agrees to pay to the Franchisor a monthly royalty (“Royalty”)
equal to 5% of its Gross Retail Sales generated from or through its ROCKY MOUNTAIN CHOCOLATE
FACTORY Store. The Franchisee also agrees to pay a quarterly Royalty based on Adjusted Gross Retail
Sales during each calendar quarter. The amount of monthly Royalty paid during each quarter shall be
credited toward the amount of quarterly Royalty owed.         Within 1S days following the end of each
calendar quarter, the Franchisor shall calculate the amount of the Franchisee’s Adjusted Gross Retail
Sales during the previous quarter and the Franchisee shall owe the Franchisor a quarterly Royalty equal to
10% of its Adjusted Gross Retail Sales. “Adjusted Gross Retail Sales” shall be calculated as the amount
of “Gross Retail Sales,” defined in Section 11.2 below, minus a fixed dollar amount for each pound of
Factory Candy purchased from the Franchisor and minus a multiple of the wholesale price, as specified
by the Franchisor, on certain Store Candy ingredients, packaging and other products and supplies
purchased from the Franchisor during the previous calendar quarter. The Franchisor, reserves the right to
change the fixed dollar amount per pound of Factory Candy and the multiple of the wholesale price from
time to time, in the Franchisor’s sole discretion. The Franchisee shall be notified of any credits from or
amounts owing to the Franchisor for the quarterly Royalty based on Adjusted Gross Retail Sales.                       Any
credits or amounts owed will be added to or deducted from the following month's monthly Royalty
payment.     If the Franchisee owns other ROCKY MOUNTAIN CHOCOLATE FACTORY Stores
governed by other franchise agreements that calculate Royalties differently than described above, the
Franchisor reserves the right to adjust the calculation of Adjusted Gross Retail Sales based on variances in
other Stores’ past and current purchases.                                               !

11.2     Gross Retail Sales. “Gross Retail Sales” shall be defined as receipts and| income of any kind
from all products or services sold from or through the ROCKY MOUNTAIN CHOCOLATE FACTORY
Store, including any such sale of products or services made for cash or upon credit, or partly for cash and
partly for credit, regardless of collection of charges for which credit is given, less returns for which
refunds are made, provided that the refund shall not exceed the sales price and exclusive of discounts,




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sales taxes and other taxes, amounts received in settlement of a loss of merchandise, shipping expenses
paid by the customer and certain discount sales to corporations or to charities for fund-raising purposes.
“Gross Retail Sales™ shall also include the fair market value of any services or products received by the
Franchisee in barter or in exchange for its services and products.

11.3     Royalty Payments. The Franchisee agrees that Royalty payments shall be paid monthly and paid
by electronic funds transfer initiated by the Franchisor on the 15" day of each month based on Gross
Retail Sales for the immediately preceding month. Franchisee agrees to send monthly reports to the
Franchisor,   as   more   fully   described   in Article      1S   hereof,     and   standard   transmittal   forms    containing
information regarding the Franchisee’s Gross Retail Sales and such additional information as may be
requested by the Franchisor. The Franchisor reserves the right to require Royalty payments be made on a
weekly or bi-weekly basis if the Franchisee does not timely or fully submit the required payments or
reports. The Franchisor shall have the right to verify such Royalty payments from time to time as it
deems necessary, in any reasonable manner. In the event that the Franchisee fails to pay any Royalties
within 14 days after they are due, the Franchisee shall, in addition to such Royalties, pay a late charge
equivalent to 18% of the late Royalty payment; provided, however, in no event shail the Franchisee be
required to pay a late payment at a rate greater than the maximum interest rate permitted by applicable
law.

11.4    Authorization for Electronic Funds Transfers.         The Franchisor requires that Royalty
payments, applicable late charges, the Marketing and Promotion Fee and applicable late charges (as set
forth in Section 12.3 below) be made by means of electronic funds transfer and the Franchisee agrees to
provide the information necessary to implement such transfer payments by completing and signing the
Authorization Agreement           for Electronic Funds Transfers (“Authorization Agreement”)                          attached as
Exhibit IV to this Agreement. The Franchisee authorizes the Franchisor to initiate debit entries and/or
credit correction entries to the Franchisee’s checking or savings account set forth on the Authorization
Agreement, and authorizes the depository named on the Authorization Agreement (“Depository”) to
debit such account pursuant to the Franchisor’s instructions. The Authorization Agreement is to remain
in full force and effect until Depository has received joint written notification from the Franchisor and the
Franchisee of the Franchisee’s termination of such authority in such time and in such manner as to afford
Depository a reasonable opportunity to act on it. Notwithstanding the foregoing, Depository shall provide
the Franchisor and the Franchisee with 30 days’ prior written notice of the termination of this authority.
If an erroneous debit entry is initiated to the Franchisee’s account, the Franchisee shall have the right to
have the amount of such entry credited to such account by Depository, if (a) within 15 calendar days
following the date on which Depository sent to the Franchisee a statement of account or a written notice
pertaining to such entry or (b) 45 days after posting, whichever occurs first, the Franchisee shall have sent
to Depository a written notice identifying such entry, stating that such entry was in error and requesting
Depository to credit the amount thereof to such account.                     These rights are in addition to any rights the
Franchisee may have under federal and state banking laws.

                                               12.         ADVERTISING

12.1    Approval of Advertising.          The Franchisee shall obtain the Franchisor’s prior written approval of
all advertising or other marketing or promotional programs published by any method, including print,
broadcast and electronic media, regarding the ROCKY MOUNTAIN CHOCOLATE FACTORY Store,
including, without limitation, “Yellow Pages” advertising, newspaper ads, flyers, brochures, coupons,
direct mail pieces, specialty and novelty items, radio, television, Internet, including social media such as
Facebook and Twitter, and World Wide Web advertising. The Franchisee acknowledges and agrees that
the Franchisor may disapprove of any advertising, marketing or promotional programs submitted to the
Franchisor, for any reason, in the Franchisor’s sole discretion. The Franchisee shall also obtain the




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Franchisor’s prior written approval of all promotional materials provided by vendors. The proposed
written advertising or a description of the marketing or promotional program shall be submitted to the
Franchisor at least 10 days prior to publication, broadcast or use. The Franchisee acknowledges that
advertising and promoting the ROCKY MOUNTAIN CHOCOLATE FACTORY Store in accordance
with the Franchisor’s standards and specifications is an essential aspect of the Licensed Methods, and the
Franchisee agrees to comply with all advertising standards and specifications. The Franchisee shall
display all required promotional materials, signs, point of purchase dispiays and other marketing materials
in its ROCKY            MOUNTAIN       CHOCOLATE            FACTORY          Store     in the    manner      prescribed    by   the
Franchisor. The Franchisee shall not, under any circumstances, use handwritten signs in the operation of
its Store. The Franchisee agrees to participate in any mandatory gift card or customer loyalty card
programs implemented by the Franchisor in accordance with all of the Franchisor’s standards and
specifications. The Franchisee acknowledges and agrees that participation in a gift card or customer
loyalty card program, whether voluntary or required, may require the Franchisee to pay fees, enter into
agreements or purchase equipment or other products or services from the Franchisor or from a designated
third-party supplier.

12.2     Local Advertising. The Franchisor reserves the right to require the Franchisee to spend up to 1%
of monthly Gross Retail Sales on local advertising to create public awareness of the Franchisee’s ROCKY
MOUNTAIN CHOCOLATE FACTORY Store.                     The Franchisee will submit to the Franchisor an
accounting of the amounts spent on advertising within 30 days following the end of each calendar quarter.
If the Franchisor requires its franchisees to advertise locally as described above, all Franchisor-owned
Stores will be required to spend money for local advertising on an equal percentage basis with all
franchised Stores. If the Franchisee’s lease requires it to advertise locally, the Franchisor may, in its sole
discretion, count such expenditures toward the Franchisee’s local advertising expenditure required by this
Section    12.2.   The    Franchisee    shall   obtain    the     Franchisor’s     prior   written     approval   of all   written
advertising and promotional materials before publication, in accordance with Section 12.1 above.

12.3    Marketing and Promotion Fee. The Franchisee shall contribute to a marketing fund established
by the Franchisor (“Marketing Fund”), a fee of up to 2% of the total amount of the Franchisee’s Gross
Retail    Sales (“Marketing     and    Promotion         Fee”).     The   Franchisor       may   change     the amount     of the
Marketing and Promotion Fee upon 30 days notice, but the amount will not exceed 2% of Gross Retail
Sales.    The Marketing and Promotion           Fee shall be in addition to and not in lieu of the Franchisee’s
expenditures for local advertising, as described in Section                      12.2 above.         The   following terms and
conditions will apply:

                  a.       The Marketing and Promotion Fee shall be payable concurrently with the
          payment of the Royalties, and transmitted to the Franchisor in accordance with Sections 11.3 and
          11.4 above, for all Marketing and Promotion Fees for the immediately preceding month.

                   b.       The Marketing and Promotion Fees will be subject to the same late charges as the
          Royalties, in an amount and manner set forth in Sections 11.3 and 11.4 above.

                   c.     Upon written request by the Franchisee, the Franchisor will make available to the
          Franchisee, no later than 120 days after the end of each fiscal year, an annual financial statement
          which indicates how the money in the Marketing Fund has been spent.

                   d.      The Marketing Fund will be administered by the Franchisor, in its sole discretion,
          and may be used for production and placement of point of purchase advertising, in-store signage,
          in-store promotions, media advertising, direct mailings, brochures, collateral material advertising,
          Electronic Advertising, such as websites, blogs and social media, including Facebook and




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            Twitter, communication by electronic mail, implementing and administering gift card, stored
            value card and customer loyalty programs, surveys of advertising effectiveness, packaging
            development, logo, design  or other advertising or public relations expenditures relating to
            advertising the Franchisee’s products and services.

                    e.              The    Franchisor          may        reimburse     itself      for     independent       audits,         reasonable
            accounting, bookkeeping, reporting and legal expenses, taxes and other reasonable direct and
            indirect expenses as may be incurred by the Franchisor or its authorized representatives in
            connection with the programs funded by the Marketing Fund. The Franchisor will not be liable
            for any act or omission with respect to the Marketing Fund that is consistent with this Agreement
            and is done in good faith. The Franchisor reserves the right to terminate the Marketing Fund
            upon 30 days’ prior written notice to all franchisees and any remaining monies will be distributed
            pro rata based on all Stores’ contributions within the preceding 12 months

12.4        Regional Advertising Programs.                        Although not obligated to do so, the Franchisor reserves the
right to allocate up to 50% of the Marketing and Promotion Fees charged in accordance with Section 12.3
above, toward a regional advertising program for the benefit of ROCKY                                           MOUNTAIN               CHOCOLATE
FACTORY franchisees located within a particular region. The Franchisor has the right, in its sole
discretion, to determine the composition of all geographic territories and market areas for the
implementation of such regional advertising and promotion campaigns and to require that the Franchisee
participate in such regional advertising programs as and when they may be established by the Franchisor.
If a regional advertising program is implemented on behalf of a particular region by the Franchisor, the
Franchisor, to the extent reasonably calculable, will only use contributions from ROCKY MOUNTAIN
CHOCOLATE FACTORY franchisees within such region for the particular regional advertising program.
The Franchisor also reserves the right to establish a co-operative for a particular region to enable the co-
operative to self-administer the regional advertising program. If a regional advertising co-operative is
established by the Franchisor, the Franchisee agrees that it will participate in it. [f the Franchisor creates
a regional advertising program, either as a co-operative or otherwise, the Franchisor has the right to
charge the program for the actual costs of forming and administering the program.

12.5    Marketing Services.      The Franchisor may, in its sole discretion, offer marketing and
merchandising services to the Franchisee at rates that are competitive with those charged by third parties
offering similar services.   The Franchisee may utilize such services, if they are offered, at the
Franchisee’s option.   Services offered by the Franchisor may include marketing consulting,                                                      graphic
design, copywriting, advertising, public relations and merchandising consultations.

12.6        Electronic         Advertising.          The   Franchisee         shall   not    develop,       create,   contribute        to,   distribute,
disseminate or use any electronic or Internet communication, including blogs, instant message services
such   as    Twitter,      social     media      sites     such      as    Facebook,        other    electronic       communications,            or   any
multimedia, telecommunications, mass electronic mail messages, facsimile or audio/visual advertising,
promotional or marketing materials (“Electronic Advertising”), directly or indirectly related to the
ROCKY MOUNTAIN CHOCOLATE FACTORY Store, the Marks, the Licensed Methods, other
franchisees,     other         ROCKY           MOUNTAIN              CHOCOLATE               FACTORY             Stores,   the         Franchisor,     its
employees and affiliates, without the Franchisor’s prior written consent which may be withheld in the
Franchisor’s sole discretion. The Franchisee acknowledges and agrees that it will not post a blog, create
or contribute to a website, engage in any type of social networking or conduct any type of Internet
communication           that    refers    to   the    Marks,      the      Licensed     Methods,          the   Franchisor,      its    affiliates    and
employees, any ROCKY MOUNTAIN CHOCOLATE FACTORY Stores or other franchisees without
the Franchisor’s prior written permission. The Franchisor shall retain the exclusive right to develop,
publish and control the content of all Electronic Advertising for ROCKY MOUNTAIN CHOCOLATE




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FACTORY Stores. The Franchisor reserves the right, upon 30 days’ prior written notice, to require the
Franchisee to participate in any Electronic Advertising of ROCKY MOUNTAIN CHOCOLATE
FACTORY Stores sponsored by the Franchisor. If the Franchisor permits the Franchisee to develop any
Electronic Advertising, the Franchisee shall do so in strict compliance with the Franchisor’s policies and
rules regarding the creation, maintenance, use, publication and content of such Electronic Advertising as
set forth in this Agreement or the Operations Manual. The Franchisee shall not publish or communicate
any of the Franchisor’s confidential information using the Internet, and the Franchisee shall not publish or
communicate any of the Franchisor’s copyrighted material or information containing the Marks or any of
the Licensed Methods using the Internet without the Franchisor’s prior written permission; nor shall the
Franchisee assist any other party in doing so. Any amounts that the Franchisee spends to participate in
Electronic Advertising shall be credited toward the Franchisee’s local advertising obligations if the
Franchisee is required to advertise locally.

                                            13.        QUALITY CONTROL

13.1 Compliance with Operations Manual. The Franchisee agrees to maintain and operate the
ROCKY MOUNTAIN CHOCOLATE FACTORY Store in compliance with this Agreement and the
standards and specifications contained in the Operations Manual, as the same may be modified from time
to time by the Franchisor.

13.2   Standards and Specifications.              The Franchisor will make available to the Franchisee standards
and specifications for products and               services offered at or through the ROCKY          MOUNTAIN
CHOCOLATE           FACTORY         Store and     specifically, for the recipes           for Store Candy,      display cases,
uniforms,     materials,   forms,   menu   boards,    items and supplies         used   in connection   with   the Store.   The
Franchisor reserves the right to change standards and specifications for services and products offered at or
through the ROCKY MOUNTAIN CHOCOLATE FACTORY Store and for the recipes for Store Candy,
display cases, uniforms, materials, forms, items and supplies used in connection with the Store upon 30
days prior written notice to the Franchisee. The Franchisee shall strictly adhere to all of the Franchisor’s
current standards and specifications for the ROCKY MOUNTAIN                             CHOCOLATE       FACTORY Store as
prescribed from time to time. The Franchisee agrees that the Franchisor may offer optional or mandatory
programs (“Programs”) from time to time that allow the Franchisee to offer additional products and
services in the Store, subject to terms and conditions which may change in the Franchisor’s sole
discretion. All terms and conditions related to a Program shall be deemed to be a part of the Operations
Manual and Franchisee shall adhere to them accordingly. The Franchisor reserves the right to modify any
Program or discontinue a Program, in the Franchisor’s sole discretion.

13.3     Inspections.      The Franchisor shall have the right to examine the Franchised Location, including
the inventory, products, equipment, materials and supplies, to ensure compliance with all standards and
specifications set by the Franchisor.   The Franchisor shail conduct such inspections during regular
business hours and the Franchisee may be present at such inspections. The Franchisor, however, reserves
the right to conduct the inspections without prior notice to the Franchisee.

13.4     Restrictions on Services and Products.                 The Franchisee will be required to purchase all of its
Factory Candy for its ROCKY           MOUNTAIN          CHOCOLATE            FACTORY        Store from the Franchisor or its
designee. Factory Candy shall consist of any and all varieties from time to time made available to the
Franchisor’s franchisees by the Franchisor and its designated suppliers. The parties hereby acknowledge
the uniqueness and importance of Factory Candy being prepared by the Franchisor or its designee in order
to maintain the uniformity, quality and uniqueness of Factory Candy, and therefore the Franchisor and its
designees are hereby appointed the Franchisee’s exclusive source of Factory Candy.                         The Franchisee is
prohibited from offering or selling any products or services not authorized by Franchisor, including,




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without limitation, operating a catering or wholesale business or offering Factory Candy, Items, Store
Candy or other authorized products for sale on the Internet, as part of the ROCKY MOUNTAIN
CHOCOLATE FACTORY Store. However, if the Franchisee proposes to offer, conduct or utilize any
products, services, materials, forms, items or supplies for use in connection with or sale through the
ROCKY      MOUNTAIN         CHOCOLATE        FACTORY        Store which are not previously approved                by the
Franchisor as meeting its specifications, the Franchisee shall first notify the Franchisor in writing
requesting approval. The Franchisor may, in its sole discretion, for any reason whatsoever, elect to
withhold such approval. In order to make such determination, the Franchisor may require submission of
specifications, information, or samples of such products, services, materials, forms, items or supplies.
The Franchisor will advise the Franchisee within a reasonable time whether such products, services,
materials, forms, items or supplies meet its specifications.

13.5     Approved       Suppliers.   The   Franchisee    shall     purchase   all   products,   services,   supplies   and
materials required for the operation of the ROCKY MOUNTAIN CHOCOLATE FACTORY Store
licensed herein, from manufacturers, suppliers or distributors designated by the Franchisor or, if there is
no designated supplier for a particular product, service, supply or material, from such other suppliers who
meet all of the Franchisor’s specifications and standards as to quality, composition, finish, appearance and
service, and who shall adequately demonstrate their capacity and facilities to supply the Franchisees
needs in the quantities, at the times, and with the reliability requisite to an efficient operation.

13.6    Request to Change Supplier. In the event the Franchisee desires to purchase products, services,
supplies or materials from manufacturers, suppliers or distributors other than those previously approved
by the Franchisor, the Franchisee shall, prior to purchasing any such products, services, supplies or
materials, give the Franchisor a written request by certified mail, return receipt requested, to change
supplier. In the event the Franchisor rejects the Franchisee’s requested new manufacturer, supplier or
distributor, the Franchisor must, within 60 days of the receipt of the Franchisee’s request to change
supplier, notify the Franchisee of its rejection. Failure to notify the Franchisee within such time period
shall not constitute approval or a waiver of objections.         The Franchisor may continue from time to time to
inspect any manufacturer's, supplier’s, or distributor’s facilities and products to assure proper production,
processing, storing and transportation of products, services, supplies or materials to be purchased from the
manufacturer, supplier or distributor by the Franchisee.        Permission for such inspection shall be a
condition of the continued approval of such manufacturer, supplier or distributor.

13.7    Approval of Intended Supplier. The Franchisor may at its sole discretion, for any reason
whatsoever, elect to withhold approval of the manufacturer, supplier or distributor; however, in order to
make such determination, the Franchisor may require that samples from a proposed new supplier be
delivered to the Franchisor for testing prior to approval and use. A charge not to exceed the actual cost of
the test may be made by the Franchisor and shall be paid by the Franchisee. The Franchisor may revoke
its approval of a manufacturer, supplier or distributor if the product, service or the manufacturer, supplier
or distributor fail to meet the Franchisor’s standards and specifications as set forth in the Operations
Manual as it may be revised from time to time.

           14.         TRADEMARKS, TRADE NAMES AND PROPRIETARY INTERESTS

14.1     Marks.   The Franchisee hereby acknowledges that the Franchisor has the sole right to license and
control the Franchisee’s use of the ROCKY MOUNTAIN CHOCOLATE FACTORY service mark and
other of the Marks, and that such Marks shall remain under the sole and exclusive ownership and control
of the Franchisor. The Franchisee acknowledges that it has not acquired any right, title or interest in such
Marks except for the right to use such Marks in the operation of its ROCKY MOUNTAIN CHOCOLATE
FACTORY Store as it is governed by this Agreement. Except as permitted in the Operations Manual, the




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Franchisee agrees not to use any of the Marks as part of an electronic mail address, or on any sites on the
Internet or World Wide Web and the Franchisee agrees not to use or register any of the Marks as a
domain name on the Internet.

142   No Use of Other Marks. The Franchisee further agrees that no service mark other than
“ROCKY MOUNTAIN CHOCOLATE FACTORY” or such other Marks as may be specified by the
Franchisor shall be used in the marketing,         promotion      or operation   of the ROCKY   MOUNTAIN
CHOCOLATE FACTORY Store.

14.3    Licensed Methods. The Franchisee hereby acknowledges that the Franchisor owns and controls
the distinctive plan for the establishment, operation and promotion of the ROCKY MOUNTAIN
CHOCOLATE FACTORY Store and all related licensed methods of doing business, previously defined
as the “Licensed Methods”, which include, but are not limited to, gourmet chocolate specialty recipes
and cooking methods, confectionery ordering, processing, manufacturing, stocking and inventory control,
technical equipment standards, order fulfillment methods and customer relations, marketing techniques,
written promotional materials, advertising, and accounting systems, all of which constitute trade secrets of
the Franchisor, and the Franchisee acknowledges that the Franchisor has valuable rights in and to such
trade secrets.   The Franchisee further acknowledges that it has not acquired any right, title or interest in
the Licensed Methods except for the right to use the Licensed Methods in the operation of the ROCKY
MOUNTAIN CHOCOLATE FACTORY Store as it is governed by this Agreement.

14.4     Effect of Termination. In the event this Agreement is terminated for any reason, the Franchisee
shall immediately cease using any of the Licensed Methods and Marks, trade names, trade dress, trade
secrets, copyrights or any other symbols used to identify the ROCKY MOUNTAIN CHOCOLATE
FACTORY Store, and all rights the Franchisee had to the same shall automatically terminate. The
Franchisee agrees to execute any documents of assignment as may be necessary to transfer any rights the
Franchisee may possess in and to the Marks.

14.5     Mark Infringement. The Franchisee agrees to notify the Franchisor in writing of any possible
infringement or illegal use by others of a trademark the same as or confusingly similar to the Marks which
may come to its attention. The Franchisee acknowledges that the Franchisor shall have the right, in its
sole discretion, to determine whether any action will be taken on account of any possible infringement or
illegal use. The Franchisor may commence or prosecute such action in the Franchisor’s own name and
may join the Franchisee as a party thereto if the Franchisor determines it to be reasonably necessary for
the continued protection and quality control of the Marks and Licensed Methods. The Franchisor shall
bear the reasonable cost of any such action, including attorneys’ fees. The Franchisee agrees to fully
cooperate with the Franchisor in any such litigation.

14.6     Franchisee’s Business Name and Domain Name. The Franchisee acknowledges that the
Franchisor has a prior and superior claim to the ROCKY MOUNTAIN CHOCOLATE FACTORY trade
name.    The Franchisee shall not use the phrase or two or more of the words “ROCKY             MOUNTAIN
CHOCOLATE FACTORY?” or abbreviations thereof in the legal name of its corporation, limited liability
company or any other business entity used in conducting the business provided for in this Agreement.
The Franchisee also agrees not to register or attempt to register an Internet domain name or a trade name
with a state using the phrase or two or more of the words “ROCKY MOUNTAIN CHOCOLATE
FACTORY” or abbreviations thereof, without the prior written consent of the Franchisor. When this
Agreement expires or terminates, the Franchisee shall execute any assignment or other document the
Franchisor requires to transfer to the Franchisor any rights the Franchisee may possess in a trade name or
an Internet domain name utilizing any or all of the words “ROCKY MOUNTAIN CHOCOLATE
FACTORY,” any abbreviations thereof or any other Mark owned by the Franchisor. The Franchisee




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further agrees that it will not identify itself as being “Rocky Mountain Chocolate Factory, Inc.” or as
being associated with the Franchisor in any manner other than as a franchisee or licensee. The Franchisee
further agrees that in all advertising and promotion and promotional materials it will display its business
name only in obvious conjunction with the phrase “ROCKY MOUNTAIN CHOCOLATE FACTORY
Licensee” or “ROCKY MOUNTAIN CHOCOLATE FACTORY Franchisee” or with such other words
and in such other phrases as may from time to time be prescribed in the Operations Manual, in the
Franchisor’s sole discretion.

14.7     Change        of Marks.     In the event that the Franchisor, in its sole discretion, shall determine it
necessary to modify or discontinue use of any proprietary Marks, or to develop additional or substitute
marks, the Franchisee shall, within a reasonable time after receipt of written notice of such a modification
or discontinuation from the Franchisor, take such action, at the Franchisees sole expense, as may be
necessary to comply with such modification, discontinuation, addition or substitution.

14.8     Creative Ownership.          All copyrightable works created by the Franchisee or any of its owners,
officers or employees in connection with the Store shall be the sole property of the Franchisor. The
Franchisee assigns all proprietary rights, including copyrights, in these works to the Franchisor without
additional consideration.      The Franchisee hereby assigns and will execute such additional assignments or
documentation to effectuate the assignment of all intellectual property, inventions, copyrights and trade
secrets developed in part or in whole in relation to the Store, during the term of this Agreement, as the
Franchisor may deem necessary in order to enable it, at its expense, to apply for, prosecute and obtain
copyrights, patents or other proprietary rights in the United States and in foreign countries or in order to
transfer to the Franchisor all right, title, and interest in said property.          The Franchisee shall promptly
disclose to the Franchisor all inventions, discoveries, improvements, recipes, creations, patents,
copyrights, trademarks and confidential information relating to the Store which it or any of its owners,
officers or employees has made or may make solely, jointly or commonly with others and shall promptly
create a written record of the same. In addition to the foregoing, the Franchisee acknowledges and agrees
that any improvements or modifications, whether or not copyrightable, directly or indirectly related to the
Store, shall be deemed to be a part of the Licensed Methods and shall inure to the benefit of the
Franchisor.

14.9     Non-Disparagement.     The Franchisee agrees that it shall not take any action or make any
statements to any third parties that would constitute a criticism, denigration or disparagement of the
Franchisor or its Licensed Methods or would tend to be injurious to the reputation or goodwill of the
Franchisor or its Marks, or which            in any manner may       interfere with the business affairs or business
relations of the Franchisor.

                   15.        REPORTS, RECORDS AND FINANCIAL STATEMENTS

15.1     Franchisee       Reports.     The    Franchisee   shall establish and     maintain   at its own   expense   a
bookkeeping and accounting system which conforms to the specifications which the Franchisor may
prescribe from time to time, including the Franchisor’s current “Standard Code of Accounts” as described
in the Operations Manual. The Franchisee shall supply to the Franchisor such reports in a manner and
form as the Franchisor may from time to time reasonably require, including:

                  a.         Monthly summary reports, in a form as may be prescribed by the Franchisor,
         mailed to the Franchisor postmarked           no later than the     15th day of the month and containing
         information relative to the previous month’s operations; and




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                b.      Quarterly financial statements, prepared in accordance with generally accepted
        accounting principles (“GAAP”), and consisting of a profit and loss statement and balance sheet
        for   the   ROCKY   MOUNTAIN       CHOCOLATE           FACTORY           Store,   mailed   to   the   Franchisor
        postmarked no later than the 15th day following the end of the calendar quarter, based on
        operating results of the prior quarter, which shall be submitted in a form approved by the
        Franchisor and shall be certified by the Franchisee to be correct.

The Franchisor reserves the right to disclose data derived from such reports, without identifying the
Franchisee, except to the extent identification of the Franchisee is required by law.

15.2     Annual Financial Statements. The Franchisee shall, within 90 days after the end of its fiscal
year, provide to the Franchisor annual unaudited financial statements, compiled or reviewed by an
independent certified public accountant acceptable to and approved by the Franchisor and prepared in
accordance with GAAP, and state and federal income tax returns prepared by a certified public
accountant. If these financial statements or tax returns show an underpayment of any amounts owed to
the Franchisor, these amounts shall be paid to the Franchisor concurrently with the submission of the
statements Or returns.

15.3     Verification. Each report and financial statement to be submitted to the Franchisor hereunder
shall be signed and verified by the Franchisee.

15.4    Books and Records.         The Franchisee shall maintain all books and records for its ROCKY
MOUNTAIN CHOCOLATE FACTORY Store in accordance with GAAP, consistently applied, and
preserve these records for at least five years after the fiscal year to which they relate.

15.5    Audit of Books and Records.       The Franchisee shall permit the Franchisor to inspect and audit
the books and records of the ROCKY MOUNTAIN CHOCOLATE FACTORY Store at any reasonable
time, at the Franchisor’s expense. If any audit discloses a deficiency in amounts for payments owed to
the Franchisor pursuant to this Agreement, then such amounts shall become immediately payable to the
Franchisor by the Franchisee, with interest from the date such payments were due at the lesser of 1¥2%
per month or the maximum rate allowed by law. If the Franchisee (1) fails to furnish required reports or
supporting records on a timely basis for two or more consecutive reporting periods; (2) fails to have
sufficient funds available to pay Royalties and Marketing and Promotion Fees for two or more
consecutive reporting periods; (3) fails to have books and records available for an audit after receiving
reasonable advance notice from the Franchisor, or otherwise fails to cooperate with the Franchisor’s
requested inspection and audit; or (4) understates its Gross Retail Sales for the period of any audit by
greater than 5%, then the Franchisee will reimburse the Franchisor for the cost of the audit and inspection,
including, without limitation, attorneys’ fees, independent accountants’ fees, and the travel expenses,
room and board and compensation of the Franchisor’s employees who conducted the audit and inspection.

15.6    Failure to Comply with Reporting Requirements.                 If the Franchisee fails to prepare and submit
any statement or report as required under this Article 15, then the Franchisor shall have the right to treat
the Franchisee’s failure as good cause for termination of this Agreement. In addition to all other remedies
available to the Franchisor, in the event that the Franchisee fails to prepare and submit any statement or
report required under this Article 15 for two consecutive reporting periods, the Franchisor shall be entitled
to make an audit, at the expense of the Franchisee, of the Franchisee’s books, records and accounts,
including the Franchisee’s bank accounts, which in any way pertain to the Gross Retail Sales or the
Adjusted Gross Retail Sales of the ROCKY MOUNTAIN CHOCOLATE FACTORY Store. The
statements or reports not previously submitted shall be prepared by or under the direction and supervision
of an independent certified public accountant selected by the Franchisor.




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15.7   Shopping Service. The Franchisor reserves the right to use third party shopping services from
time to time to evaluate the conduct of the Franchisee’s ROCKY MOUNTAIN CHOCOLATE
FACTORY Store, including such things as customer service, cleanliness, merchandising and proper use
of registers.   The Franchisor may use such shopping services to inspect the Franchisee’s ROCKY
MOUNTAIN        CHOCOLATE FACTORY Store at any time at the Franchisor’s expense, without prior
notification to the Franchisee.    The Franchisor      may    make    the results of any such service evaluation
available to the Franchisee, in the Franchisor’s sole discretion.

                                             16.       TRANSFER

16.1     Transfer by Franchisee. The franchise granted herein is personal to the Franchisee and, except
as stated below, the Franchisor shall not allow or permit any transfer, assignment, subfranchise or
conveyance of this Agreement or any interest hereunder nor purport to do so without the Franchisor’s
prior written consent which may be withheld in the Franchisor’s reasonable discretion. The Franchisee
acknowledges that prior to approving any transfer, the Franchisor may impose reasonable conditions on
the Franchisee and its purported transferee including but not limited to those conditions listed in Section
16.2. As used in this Agreement, the term “transfer” includes the Franchisee’s voluntary, involuntary,
direct or indirect assignment, sale, gift or other disposition of any interest in: (1) this Agreement; (2) the
ownership of the Franchisee entity; (3) the Store governed by this Agreement; or (4) all or a substantial
portion of the assets of the Store. The term “transfer” shall include an assignment, sale, gift or other
disposition, including those transfers described in Sections 16.5 and 16.7 and those resulting from a
divorce, insolvency, corporate or partnership dissolution proceeding, merger, change of control, operation
of law or, in the event of the death of the Franchisee, or an owner of the Franchisee by will, declaration of
or transfer in trust or under the laws of intestate succession. For the purposes of this Article 16, “change
of control” of a Franchisee that is an entity shall mean a transfer, new issuance or assignment of 25% or
more of the Franchisee’s beneficial equity ownership interests.

16.2    Pre-Conditions to Franchisee’s Transfer. The Franchisee shall not engage in a transfer unless
the Franchisee obtains the Franchisor’s written consent and the Franchisee and the proposed transferee
comply with the following requirements:

                a.      All amounts due and owing pursuant to this Agreement by the Franchisee to the
        Franchisor or its affiliates or to third parties whose debts or obligations the Franchisor has
        guaranteed on behalf of the Franchisee, if any, are paid in full,

                 b.      The proposed transferee agrees to operate the Store as a ROCKY               MOUNTAIN
        CHOCOLATE FACTORY Store and agrees to satisfactorily complete the initial training program
        described in this Agreement, which training must be completed to the Franchisor’s satisfaction
        prior to the effectiveness of the transfer;

                 C.       The proposed transferee agrees to execute the then current form of Franchise
        Agreement which shall supersede this Agreement in all respects.             The proposed transferee also
        agrees to execute all addenda to the Franchise Agreement.              If a new Franchise Agreement        is
        signed, the terms thereof may     differ from the terms of this Agreement;        provided,   however,   the
        transferee will not be required to pay any initial franchise fee;

                 d.       The Franchisee provides written notice to the Franchisor 30 days’ prior to the
        proposed effective date of the transfer, and includes information reasonably detailed to enable the
        Franchisor to evaluate the terms and conditions of the proposed transfer and which at a minimum
        includes a written offer from the proposed transferee;




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                    e.       The proposed transferee provides information to the Franchisor sufficient for the
           Franchisor to assess the proposed transferee’s business experience, aptitude and financial
           qualification, and the Franchisor approves the proposed transferee as a franchisee;

                     f.     The Franchisee executes a general release, in a form satisfactory to the
           Franchisor, of any and all claims against the Franchisor, its affiliates and their respective officers,
           directors, employees and agents;

                      g.         The Franchisee or the proposed transferee pay a nonrefundable transfer fee of
           $5,000 before the proposed transferee attends the initial training program; provided, however,
           that no transfer fee will be charged for a transfer by the Franchisee to a corporation wholly-owned
           by the Franchisee, between partners of a partnership Franchisee or to a spouse of a Franchisee
           upon the death or disability of the Franchisee;

                      h.         The    Franchisee   or transferee      remodels     the Store         and   upgrades   equipment,
           including installing the Franchisor’s then current ISIS System, fixtures, furnishings and signage,
           and paying a design fee, if a Store design is necessary in the Franchisor’s sole discretion; and

                    i.      The Franchisee agrees to abide by all post-termination covenants set forth herein,
           including, without limitation, the covenant not to compete in Section 20.2 below.

16.3     Franchisor’s Approval of Transfer. The Franchisor has 30 days from the date of the written
notice to approve or disapprove in writing, of the Franchisee’s proposed transfer, which approval shall not
be     unreasonably        withheld,   delayed   or conditioned,     other   than   as   set   forth   in this   Agreement.      The
Franchisee acknowledges that the proposed transferee shall be evaluated for approval by the Franchisor
based on the same criteria as is currently being used to assess new franchisees of the Franchisor and that
the Franchisor shall provide such proposed transferee, if appropriate, with such disclosures as may be
required by state or federal law. If the Franchisee and its proposed transferee comply with all conditions
for transfer set forth herein and the Franchisor has not given the Franchisee notice of its approval or
disapproval within such period, approval is deemed granted.

16.4       Right of First Refusal.         In the event the Franchisee wishes to engage in a transfer, the Franchisee
agrees to grant to the Franchisor a 30-day right of first refusal to purchase such rights, interest or assets on
the same terms and conditions as are contained in the written notice set forth in Section 16.2.d; provided,
however, the following additional terms and conditions shall apply:

                      a.         The 30 day right of first refusal period will run concurrently with the period in
           which the Franchisor has to approve or disapprove the proposed transferee;

                    b.     The right of first refusal will be effective for each proposed transfer and any
           material change in the terms or conditions of the proposed transfer shall be deemed a separate
           offer on which the Franchisor shall have a new 30 day right of first refusal;

                   Cc.      If the consideration or manner of payment offered by a proposed transferee is
           such that the Franchisor may not reasonably be required to furnish the same, then the Franchisor
           may purchase the interest which is proposed to be sold for the reasonable cash equivalent.                           If the
           parties cannot agree within a reasonable time on the cash consideration, each of the Franchisor
           and the Franchisee shall designate an independent appraiser who, in turn, shall designate a third
           independent appraiser. The third appraiser's determination will be binding upon the parties. All




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        expenses of the appraiser shall be paid for equally between the Franchisor and the Franchisee;
        and

                 d.      If the Franchisor chooses not to exercise its right of first refusal, the Franchisee
        shall be free to complete the transfer subject to compliance with Sections 16.2 and 16.3 above.
        Absence of a reply to the Franchisee’s notice of a proposed transfer within the 30-day period may
        be deemed a waiver of such right of first refusal.

16.5    Types of Transfers. The Franchisee acknowledges that the Franchisor’s right to approve or
disapprove of a proposed transfer as provided for above, shall apply (1) if the Franchisee is a partnership,
corporation or other business association, (i) to the addition or deletion of a partner, shareholder or
members of the association or the transfer of any ownership interest among existing partners,
shareholders or members; (ii) to any proposed transfer of 25% or more of the interest (whether stock,
partnership interest or membership interest) to a third party, whether such transfer occurs in a single
transaction or several transactions; and (2) if the Franchisee is an individual, to the transfer from such
individual or individuals to a corporation or other entity controlled by them, in which case the
Franchisor’s approval will be conditioned upon:      (i) the continuing personal guarantee of the individual
(or individuals) for the performance of obligations under this Agreement; and (ii) a limitation on the
corporation’s or other entity’s business activity to that of operating the ROCKY MOUNTAIN
CHOCOLATE FACTORY Store and related activities provided that with respect to such transfer, the
Franchisor’s right of first refusal to purchase shall not apply and the Franchisor will not charge any
transfer fee.

16.6     Transfer by the Franchisor. This Agreement is fully assignable by the Franchisor and shall
inure to the benefit of any assignee or other legal successor in interest, and the Franchisor shall in such
event be fully released from the same.

16.7    Franchisee’s Death or Disability.      Upon the death or permanent disability of the Franchisee (or
individual owning 25% or more of, or controlling the Franchisee entity), the personal representative of
such person shall transfer the Franchisees interest in this Agreement or such interest in the Franchisee
entity to an approved third party. Such disposition of this Agreement or such interest (including, without
limitation, transfer by bequest or inheritance) shall be completed within a reasonable time, not to exceed
120 days from the date of death or permanent disability (unless extended by probate proceedings), and
shall be subject to all terms and conditions applicable to transfers contained in this Article 16. Provided,
however, that for purposes of this Section 16.7, there shall be no transfer fee charged by the Franchisor.
Failure to transfer the interest within said period of time shall constitute a breach of this Agreement. For
the purposes hereof, the term “permanent disability” shall mean a mental or physical disability,
impairment or condition that is reasonably expected to prevent or actually does prevent the Franchisee (or
the owner of 25% or more of, or controlling, the Franchisee entity) from supervising the management and
operation of the ROCKY MOUNTAIN CHOCOLATE FACTORY Store for a period of 120 days from
the onset of such disability, impairment or condition.

                                   17.     TERM AND EXPIRATION

17.1    Term.   The term of this Agreement begins on the date this Agreement is fully executed and ends
ten years later, unless sooner terminated as provided herein.

17.2    Continuation.    If, for any reason, the Franchisee continues to operate the Store beyond the term
of this Agreement or any subsequent renewal period, it shall be deemed to be on a month-to-month basis
under the terms of this Agreement and subject to termination upon 30 days notice or as required by law.




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If said holdover period exceeds 90 days, this Agreement is subject to immediate termination unless
applicable law requires a longer period. Upon termination after any holdover period, the Franchisee and
those in active concert with the Franchisee,              including family      members,    officers, directors, partners and
managing agents, are subject to the terms of Articles 20 and 22 and Section                      18.5 of this Agreement and
all other applicable post-termination obligations contained in this Agreement.

17.3    Rights Upon Expiration. At the end of the initial term hereof the Franchisee shall have the
option to renew its franchise rights for one additional ten year term, by acquiring successor franchise
rights, if the Franchisor does not exercise its right not to offer a successor franchise in accordance with
Section 17.5 below and if the Franchisee:

                a.      At least 30 days prior to expiration of the term, executes the form of Franchise
         Agreement then in use by the Franchisor;

                    b.          Has complied with all provisions of this Agreement during the current term,
         including        the   payment   on   a timely     basis   of all     Royalties   and   other   fees   due   hereunder.
         “Compliance” shall mean, at a minimum, that the Franchisee has not received any written
         notification from the Franchisor of breach hereunder more than four times during the term hereof;

                    c.          Upgrades and/or remodels the ROCKY MOUNTAIN                      CHOCOLATE            FACTORY
         Store and its operations at the Franchisee’s sole expense (the necessity of which shall be in the
         sole discretion of the Franchisor) to conform with the then current Operations Manual;

                 d.       Executes a general release, in a form satisfactory to the Franchisor, of any and all
         claims against the Franchisor and its affiliates, and their respective officers, directors, employees
         and agents arising out of or relating to this Agreement; and

                   e.      Pays a successor franchise fee of (i) $2,500 if a new Franchise Agreement is
         executed by the Franchisee within 30 days of receipt of the new Franchise Agreement, or
         (ii) $5,000 if the new Franchise Agreement is signed more than 30 days after receipt of the new
         Franchise Agreement.

17.4     Exercise of Option for Successor Franchise. The Franchisee may exercise its option for a
successor franchise by giving written notice of such exercise to the Franchisor not less than 90 days prior
to the scheduled expiration of this Agreement. If the Franchisee fails to provide such notice to the
Franchisor within the time frame set forth in the preceding sentence, but notifies the Franchisor of its
desire to obtain a successor franchise prior to the expiration of the then-current term of this Agreement,
the Franchisee shall pay the Franchisor a penalty of $1,000 for every 30-day period that the Franchisee
was late, plus attorneys’ and administrative fees and expenses attributable to such late renewal. The
Franchisee’s successor franchise rights shall become effective by signing the Franchise Agreement then
currently being offered to new franchisees of the Franchisor.

17.5     Conditions of Refusal. The Franchisor shall not be obligated to offer the Franchisee a successor
franchise upon the expiration of this Agreement if the Franchisee fails to comply with any of the above
conditions of renewal.          In such event, except for failure to execute the then current Franchise Agreement
or pay the successor franchise fee, the Franchisor shall give notice of expiration at least 180 days prior to
the expiration of the term, and such notice shall set forth the reasons for such refusal to offer successor
franchise rights.        Upon the expiration of this Agreement, the Franchisee shall comply with the provisions
of Section 18.5 below.




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                                 18.     DEFAULT AND TERMINATION

18.1     Termination by Franchisor - Effective Upon Notice. The Franchisor shall have the right, at its
option, to terminate this Agreement and all rights granted the Franchisee hereunder, without affording the
Franchisee any opportunity to cure any default (subject to any state laws to the contrary, where state law
shall prevail), effective when notice is sent to the Franchisee, addressed as provided in Section 22.13,
upon the occurrence of any of the following events:

                a.       Abandonment.        If the Franchisee ceases to operate the ROCKY              MOUNTAIN
        CHOCOLATE             FACTORY     Store    or   otherwise       abandons     the     ROCKY      MOUNTAIN
        CHOCOLATE FACTORY Store for a period of five consecutive days, or any shorter period that
        indicates an intent by the Franchisee to discontinue operation of the ROCKY MOUNTAIN
        CHOCOLATE FACTORY Store, unless and only to the extent that full operation of the ROCKY
        MOUNTAIN CHOCOLATE FACTORY Store is suspended or terminated due to fire, flood,
        earthquake   or other    similar causes    beyond   the   Franchisee’s     control   and   not related   to the
        availability of funds to the Franchisee;

                 b.      Insolvency: Assignments. If the Franchisee becomes insolvent or is adjudicated
        a bankrupt; or any action is taken by the Franchisee, or by others against the Franchisee under any
        insolvency, bankruptcy or reorganization act, (this provision may not be enforceable under
        federal bankruptcy law, 11 U.S.C. §§ 101 et seq.), or if the Franchisee makes an assignment for
        the benefit of creditors, or a receiver is appointed by the Franchisee;

                Cc.     Unsatisfied Judgments; Levy; Foreclosure.       If any material judgment (or
        several judgments which in the aggregate are material) is obtained against the Franchisee and
        remains unsatisfied or of record for 30 days or longer (unless a supersedeas or other appeal bond
        has been filed); or if execution is levied against the Franchisee’s business or any of the property
        used in the operation of the ROCKY MOUNTAIN CHOCOLATE FACTORY Store and is not
        discharged within five days; or if the real or personal property of the Franchisee’s business shall
        be sold after levy thereupon by any sheriff, marshal or constable;

                 d.     Criminal Conviction.      [f the Franchisee is convicted of a felony, a crime
        involving moral turpitude, or any crime or offense that is reasonably likely, in the sole opinion of
        the Franchisor, to materially and unfavorably affect the Licensed Methods, Marks, goodwill or
        reputation thereof;

                e.       Failure to Make Payments.          If the Franchisee fails to pay any amounts due the
        Franchisor or affiliates, including any amounts which may be due as a result of any subleases or
        lease assignments between the Franchisee and the Franchisor, within 10 days after receiving
        notice that such fees or amounts are overdue;

                  f.      Misuse of Marks. If the Franchisee misuses or fails to follow the Franchisor’s
        directions and guidelines concerning use of the Franchisor’s Marks and fails to correct the misuse
        or failure within ten days after notification from the Franchisor;

                 gs.     Unauthorized Disclosure.        If the Franchisee intentionally or negligently
        discloses to any unauthorized person the contents of or any part of the Franchisor’s Operations
        Manual or any other trade secrets or confidential information of the Franchisor;




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                h.      Repeated Noncompliance.          If the Franchisee has received two previous notices
        of default from the Franchisor and is again in default of this Agreement at any time during the
        term of this Agreement, regardless of whether the previous defaults were cured by the Franchisee,
        provided, however, that following the Franchisee’s receipt of three notices of default, the
        Franchisor reserves the right to assess a penalty in the amount of the then current initial franchise
        fee payable within   10 days of receipt of notice related thereto, and to require the Franchisee to
        sign the Franchisor’s then current form of Franchise Agreement for the remainder of the term of
        the Franchisee’s previous Franchise Agreement in lieu of immediately terminating the Franchise
        Agreement, on the condition that a fourth notice of default may result in immediate termination of
        the Franchise Agreement; or

                 i.      Unauthorized Transfer. If the Franchisee sells, transfers or otherwise assigns
        the Franchise, an interest in the Franchise or the Franchisee entity, this Agreement, the ROCKY
        MOUNTAIN CHOCOLATE FACTORY Store or a substantial portion of the assets of the
        ROCKY MOUNTAIN CHOCOLATE FACTORY Store owned by the Franchisee without
        complying with the provisions of Article 16 above.

18.2    Termination by Franchisor - Thirty Days Notice.                  The Franchisor shall have the right to
terminate this Agreement (subject to any state laws to the contrary, where state law shall prevail),
effective upon 30 days written notice to the Franchisee, if the Franchisee breaches any other provision of
this Agreement and fails to cure the default during such 30-day period. In that event, this Agreement will
terminate without further notice to the Franchisee, effective upon expiration of the 30-day period.
Defaults shall include, but not be limited to, the following:

                a.      Failure to Maintain      Standards.        The Franchisee     fails to maintain the then-
        current operating procedures and adhere to the specifications and standards established by the
        Franchisor as set forth herein or in the Operations Manual            or otherwise communicated to the
        Franchisee;

                b.      Deceptive Practices.      The Franchisee engages in any unauthorized business or
        practice or sells any unauthorized product or service under the Franchisor’s Marks or under a
        name or mark which is confusingly similar to the Franchisor’s Marks;

                C.       Failure to Obtain Consent.        The Franchisee fails, refuses or neglects to obtain
        the Franchisor’s prior written approval or consent as required by this Agreement;

                d.       Failure to Comply with Manual.                The Franchisee fails or refuses to comply
        with the then-current requirements of the Operations Manual; or

                 e.      Breach of Related Agreement. The Franchisee defaults under any term of the
        lease, sublease or lease assignment for the Franchised Location, any equipment lease or any other
        agreement material to the ROCKY MOUNTAIN CHOCOLATE FACTORY Store or any other
        Franchise Agreement between the Franchisor and the Franchisee and such default is not cured
        within the time specified in such lease, sublease, other agreement or other Franchise Agreement.
        Provided, however, so long as financing from the United States Small Business Administration
        remains outstanding, the Franchisee will be given the same opportunity to cure defaults under any
        agreement between    the Franchisor or its affiliates and the Franchisee, as the Franchisee is given
        under this Agreement.




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Notwithstanding the foregoing, if the breach is curable, but is of a nature which cannot be reasonably
cured within such 30-day period and the Franchisee has commenced and is continuing to make good faith
efforts to cure the breach during such 30-day period, the Franchisee shall be given an additional
reasonable period of time to cure the same, and this Agreement shall not automatically terminate without
written notice from the Franchisor.

18.3        Franchisor’s Remedies.

                    a.     Failure to Pay. In addition to all other remedies that may be exercised by the
            Franchisor upon a default by the Franchisee under the terms of this Agreement, the Franchisor
            reserves the right to collect amounts due from the Franchisee to any third party and to pay the
            third party directly.           If the Franchisor collects any such amounts, the Franchisor may, in its sole
            discretion, charge the Franchisee an administrative fee to reimburse the Franchisor for its costs of
            collecting and paying such amounts.                Any administrative fee charged would not exceed                  15% of
            the total amount of money collected.               Additionally, in the event this Agreement is terminated by
            the Franchisor prior to its expiration as set forth in Sections                   18.1 or 18.2 above, the Franchisee
            acknowledges and agrees that in addition to all other available remedies, the Franchisor shall
            have the right to recover lost future Royalties during any period in which the Franchisee fails to
            pay such Royalties through and including the remainder of the then current term of this
            Agreement.

                     b.      Liquidated Damages.      Franchisee acknowledges that, if there is any act in
            violation of Sections 18.1 or 18.2 of this Agreement, it will be impossible to determine with
            specificity the damage to Franchisor. Therefore, for purposes of this Agreement, as liquidated
            damages and not as a penalty, for each day that Franchisee is in violation of Sections 18.1 or 18.2
            of this Agreement, Franchisee shall pay to Franchisor the sum of $500.

18.4        Right   to Purchase.              Upon   termination     or expiration of this Agreement             for any    reason, the
Franchisor shall have the option to purchase some or all of the assets of the ROCKY                                        MOUNTAIN
CHOCOLATE              FACTORY             Store, which may include, at the Franchisor’s option, all of the Franchisee’s
interest,    if any,        in and     to the real estate upon          which    the ROCKY          MOUNTAIN           CHOCOLATE
FACTORY Store is located, and all buildings and other improvements thereon, including leasehold
interests, at fair market value, less any amount apportioned to the goodwill of the ROCKY MOUNTAIN
CHOCOLATE FACTORY Store which is attributable to the Franchisor’s Marks and Licensed Methods,
and less any amounts owed to the Franchisor by the Franchisee. The following additional terms shall
apply to the Franchisor’s exercise of this option:

                       a.            The    Franchisor’s    option    hereunder       shall   be   exercisable    by   providing    the
            Franchisee with written notice of its intention to exercise the option given to the Franchisee no
            later than the effective date of termination, in the case of termination, or at least 90 days prior to
            the expiration of the term of the franchise, in the case of non renewal. Such notice shall include a
            description of the assets the Franchisor will purchase.

                       b.            In the event that the Franchisor and the Franchisee cannot agree to a fair market
            value for the assets of the ROCKY MOUNTAIN CHOCOLATE FACTORY Store, then the fair
            market value shall be determined by an independent third party appraisal. The Franchisor and the
            Franchisee shall each select one independent, qualified appraiser, and the two so selected shall
            select a third appraiser, all three to determine the fair market value of the ROCKY MOUNTAIN
            CHOCOLATE FACTORY Store. The purchase price shall be the median of the fair market
            values as determined by the three appraisers.




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                   c.      The Franchisor and the Franchisee agree that the terms and conditions of this
          right and option to purchase may be recorded, if deemed appropriate by the Franchisor, in the real
          property records and the Franchisor and the Franchisee further agree to execute such additional
          documentation as may be necessary and appropriate to effectuate such recording.

          The   closing      for the    purchase   of the   assets    of the ROCKY            MOUNTAIN         CHOCOLATE
FACTORY         Store will take place no later than 60 days after the termination or nonrenewal date.                     The
Franchisor will pay the purchase price in full at the closing, or, at its option, in five equal consecutive
monthly installments with interest at a rate of 10% per annum. The Franchisee must sign all documents
of assignment and transfer as are reasonably necessary for purchase of the ROCKY MOUNTAIN
CHOCOLATE FACTORY Store by the Franchisor.

           In the event that the Franchisor does not exercise the Franchisor’s right to purchase the assets of
the    Franchisee’s ROCKY MOUNTAIN CHOCOLATE FACTORY Store as set forth above, the
Franchisee will be free to keep or to sell, after such termination or expiration, to any third party, all of the
assets of its ROCKY MOUNTAIN CHOCOLATE FACTORY Store; provided, however, that all
appearances of the Marks are first removed in a manner approved in writing by the Franchisor. The
Franchisor will only be obligated to purchase any assets of the ROCKY                             MOUNTAIN     CHOCOLATE
FACTORY Store in the event and to the extent it is required by applicable state or federal law.

18.5      Obligations of Franchisee Upon Termination or Expiration. The Franchisee is obligated upon
termination or expiration of this Agreement to immediately:

                     a.          Pay to the Franchisor all Royalties, other fees, and any and all amounts or
          accounts        payable then owed the Franchisor or its affiliates pursuant to this Agreement, or
          pursuant        to any other agreement, whether written or oral, including subleases and lease
          assignments, between the parties;

                     b.        Cease to identify itself as      a ROCKY         MOUNTAIN           CHOCOLATE        FACTORY
          Franchisee or publicly identify itself as a former Franchisee or use any of the Franchisor’s trade
          secrets, signs, symbols, devices, trade names, trademarks, or other materials.

                     c.        Cease to identify the Franchised Location as being, or having been, associated
          with the Franchisor, and, if deemed necessary by the Franchisor, paint or otherwise change the
          interior and       exterior   of the Franchisee's      former        Store    to distinguish   it from    a ROCKY
          MOUNTAIN            CHOCOLATE        FACTORY         Store, and immediately             cease using any proprietary
          mark of the Franchisor or any mark in any way associated with the ROCKY                                  MOUNTAIN
          CHOCOLATE FACTORY Marks and Licensed Methods;

                     d.        Deliver to the Franchisor all Factory Candy, Store Candy and Items of inventory
          that bear the ROCKY MOUNTAIN CHOCOLATE FACTORY trade name or logo, signs, sign-
          faces, advertising materials, forms and other materials bearing any of the Marks or otherwise
          identified with the Franchisor and obtained by and in connection with this Agreement;

                     e.        Deliver to the Franchisor the Operations                  Manual    and all other information,
          documents and copies thereof which are proprietary to the Franchisor;

                  f.      Promptly take such action as may be required to cancel all fictitious or assumed
          names or equivalent registrations relating to the Franchisee’s use of any Marks which are under




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        the exclusive control of the Franchisor or, at the option of the Franchisor, assign the same to the
        Franchisor;

                 g      Notify the telephone company and all telephone directory publishers of the
        termination or expiration of the Franchisee’s right to use any telephone number and any regular,
        classified or other telephone directory listings associated with any Mark and to authorize transfer
        thereof to the Franchisor or its designee. The Franchisee acknowledges that, as between the
        Franchisee and the Franchisor, the Franchisor has the sole rights to and interest in all telephone,
        telecopy or facsimile machine numbers and directory listings associated with any Mark.                         The
        Franchisee authorizes the Franchisor, and hereby appoints the Franchisor and any of its officers
        as the Franchisee’s attorney-in-fact, to direct the telephone company and all telephone directory
        publishers to transfer any telephone, telecopy or facsimile machine numbers and directory listings
        relating to the ROCKY          MOUNTAIN       CHOCOLATE              FACTORY        Store to the Franchisor or its
        designee, should the Franchisee fail or refuse to do so, and the telephone company and all
        telephone directory publishers may accept such direction or this Agreement as conclusive of the
        Franchisor’s exclusive rights in such telephone numbers and directory listings and the
        Franchisor’s authority to direct their transfer;

                  h.          Abide by all restrictive covenants set forth in Article 20 of this Agreement;

                1.       Sign a general release, in a form satisfactory to the Franchisor, of any and all
        claims against the Franchisor, its affiliates and their respective officers, directors, employees and
        agents; and

                  J-          If applicable, take such action as may be required to remove from the Internet all
        sites referring to the Franchisee’s        former ROCKY             MOUNTAIN         CHOCOLATE         FACTORY
        Store or any of the Marks and to cancel or assign to the Franchisor, in the Franchisor’s sole
        discretion, all rights to any domain names for any sites on the Internet that refer to the
        Franchisee’s former ROCKY MOUNTAIN CHOCOLATE FACTORY Store or any of the
        Marks.

18.6  State and Federal Law. THE PARTIES ACKNOWLEDGE THAT IN THE EVENT THE
TERMS    OF THIS    AGREEMENT   REGARDING   TERMINATION  OR  EXPIRATION   ARE
INCONSISTENT WITH APPLICABLE STATE OR FEDERAL LAW, SUCH LAW SHALL GOVERN
THE FRANCHISEE’'S     RIGHTS REGARDING   TERMINATION  OR EXPIRATION   OF THIS
AGREEMENT.

                                       19,      BUSINESS RELATIONSHIP

19.1    Independent          Businesspersons.      The    parties    agree    that   each     of them    are   independent
businesspersons, that their only relationship is by virtue of this Agreement and that no                          fiduciary
relationship is created hereunder.   Neither party is liable or responsible for the other's                       debts or
obligations, nor shall either party be obligated for any damages to any person or property directly or
indirectly arising out of the operation of the other party’s business authorized by or conducted pursuant to
this Agreement.        The Franchisor and the Franchisee agree that neither of them will hold themselves out to
be the agent, employer or partner of the other and that neither of them has the authority to bind or incur
liability on behalf of the other.

19.2     Payment of Third Party Obligations.          The Franchisor shall have no liability for the
Franchisee’s obligations to pay any third parties, including without limitation, any product vendors, or




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any sales, use, service, occupation, excise, gross receipts, income, property or other tax levied upon the
Franchisee, the Franchisee’s property, the ROCKY MOUNTAIN CHOCOLATE FACTORY Store or
upon the Franchisor in connection with the sales made or business conducted by the Franchisee (except
any taxes the Franchisor is required by law to collect from the Franchisee with respect to purchases from
the Franchisor).

19.3    Indemnification.      The Franchisee agrees to indemnify, defend and hold harmless the Franchisor,
its subsidiaries and affiliates, and their respective shareholders, directors, officers, employees, agents,
successors and assignees, (the “Indemnified Parties”) against, and to reimburse them for all claims,
obligations and damages described in this Section 19.3, any and ail third party obligations described in
Section 19.2 and any and all claims and liabilities directly or indirectly arising out of the operation of the
ROCKY MOUNTAIN CHOCOLATE FACTORY Store or arising out of the use of the Marks and
Licensed Methods in any manner not in accordance with this Agreement.                  For purposes of this
indemnification, claims shall mean and include all obligations, actual and consequential damages and
costs reasonably incurred in the defense of any claim against the Indemnified Parties, including, without
limitation, reasonable accountants’, attorneys’ and expert witness fees, costs of investigation and proof of
facts, court costs, other litigation expenses and travel and living expenses. The Franchisor shall have the
right to defend any such claim against it. This indemnity shall continue in full force and effect
subsequent to and notwithstanding the expiration or termination of this Agreement.

                                   20.         RESTRICTIVE COVENANTS

20.1    Non-Competition       During Term.           The Franchisee acknowledges that, in addition to the license
of the Marks    hereunder,   the Franchisor         has also    licensed commercially           valuable     information       which
comprises and is a part of the Licensed Methods, including without limitation, recipes, operations,
marketing, advertising and related information and materials and that the value of this information derives
not only from the time, effort and money which went into its compilation, but from the usage of the same
by all the franchisees of the Franchisor using the Marks and Licensed Methods. The Franchisee therefore
agrees that other than the ROCKY              MOUNTAIN           CHOCOLATE                FACTORY        Store licensed herein,
neither the Franchisee nor any of the Franchisees officers, directors, shareholders, members,                          managers or
partners, nor any member of his or their immediate families, shall during the term of this Agreement:

                 a.      have any direct or indirect controlling interest as a disclosed or beneficial owner
        in a “Competitive Business” as defined below;

                 b.      perform         services    as    a   director,       officer,   manager,       employee,      consultant,
        representative, agent or otherwise for a Competitive Business; or

                 C.      divert or attempt to divert any business related to, or any customer or account of
        the ROCKY      MOUNTAIN            CHOCOLATE            FACTORY           Store, the Franchisor’s business or any
        other   ROCKY        MOUNTAIN           CHOCOLATE             FACTORY             franchisee’s     business,     by    direct
        inducement or otherwise, or divert or attempt to divert the employment of any employee of the
        Franchisor or another franchisee licensed by the Franchisor to use the Marks and Licensed
        Methods, to any Competitive Business by any direct inducement or otherwise.

The term “Competitive Business” as used in this Agreement shall mean any business operating, or
granting franchises or licenses to others to operate, a retail, wholesale, distribution or manufacturing
business with either of the following attributes: (i) a business deriving a total of 10% or more of its gross
receipts from the sale, processing or manufacturing of one or a combination of any of the following:
boxed chocolate candies; or products which are the same as or substantially similar to Store Candy; or




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products made with recipes, or processes, included in the Operations Manual; or (ii) a business devoting a
total of 10% or more of its retail display space to one or a combination of the following:           boxed chocolate
candies; or products which are the same as or substantially similar to Store Candy; or products made with
recipes, or processes, included in the Operations Manual; provided, however, the Franchisee shall not be
prohibited from owning securities in a Competitive Business if such securities are listed on a stock
exchange or traded on the over-the-counter market and represent 5% or less of that class of securities
issued and outstanding.

20.2    Post-Termination      Covenant     Not      to Compete.           Upon   termination   or expiration      of this
Agreement for any reason, the Franchisee and its officers, directors, shareholders, members, managers
and/or partners agree that, for a period of two years commencing on the effective date of termination or
expiration, or the date on which the Franchisee ceases to conduct business, whichever is later, neither
Franchisee nor its officers, directors, shareholders, members, managers, and/or partners shall have any
direct or indirect interest (through a member of any immediate family of the Franchisee or its Owners or
otherwise) as a disclosed or beneficial owner, investor, partner, director, officer, member,                   manager,
employee, consultant, representative or agent or in any other capacity in any Competitive                      Business,
defined in Section 20.1 above, located or operating within a 10-mile radius of the Franchised Location or
within a 10-mile radius of any other franchised or company-owned ROCKY MOUNTAIN
CHOCOLATE FACTORY Store. The restrictions of this Section shall not be applicable to the ownership
of shares of a class of securities listed on a stock exchange or traded on the over-the-counter market that
represent 5% or less of the number of shares of that class of securities issued and outstanding. The
Franchisee and its officers, directors, shareholders, members, managers, and/or partners expressly
acknowledge that they possess skills and abilities of a general nature and have other opportunities for
exploiting such skills. Consequently, enforcement of the covenants made in this Section will not deprive
them of their personal goodwill or ability to earn a living.

20.3     Confidentiality of Proprietary Information.   The Franchisee shall treat all information it
receives which comprises or is a part of the Licensed Methods licensed hereunder as proprietary and
confidential and will not use such information in an unauthorized manner or disclose the same to any
unauthorized person without first obtaining the Franchisor’s written consent.        The Franchisee
acknowledges that the Marks and the Licensed Methods have valuable goodwill attached to them, that the
protection and maintenance thereof is essential to the Franchisor and that any unauthorized use or
disclosure of the Marks and Licensed Methods will result in irreparable harm to the Franchisor.

20.4     Confidentiality Agreement.      The Franchisor requires that the Franchisee cause each of its
officers, directors, partners, shareholders, members, managers, and General Manager, and, if the
Franchisee is an individual, immediate family members, to execute a confidentiality and noncompetition
agreement containing the above restrictions, in the form attached hereto as Exhibit VI and incorporated
herein by reference.

                                            21.        INSURANCE

21.1     Insurance Coverage.        The Franchisee shall procure, maintain and provide evidence of
(i) comprehensive general liability insurance for the Franchised Location and its operations with a limit of
not less than $1,000,000 combined single limit, or such greater limit as may be required as part of any
lease agreement for the Franchised Location; (ii) automobile liability insurance covering all employees of
the ROCKY    MOUNTAIN        CHOCOLATE           FACTORY      Store with authority to operate a motor vehicle in
an amount   not less than   $1,000,000   or, with    the prior written      consent   of the Franchisor,   such    lesser
amount as may be available at a commercially reasonable rate, but in no event less than any statutorily
imposed minimum coverage; (iii) unemployment and worker’s compensation insurance with a broad form




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all-states endorsement coverage sufficient to meet the requirements of the law; and (iv) all-risk personal
property insurance in an amount equal to at least 100% of the replacement costs of the contents and tenant
improvements located at the ROCKY MOUNTAIN CHOCOLATE FACTORY Store. All of the required
policies of insurance shall name the Franchisor as an additional insured and shall provide for a 30-day
advance written notice to the Franchisor of termination, amendment or cancellation.

21.2     Proof of Insurance Coverage. The Franchisee will provide proof of insurance to the Franchisor
prior to commencement of operations at its ROCKY MOUNTAIN CHOCOLATE FACTORY Store.
This proof will show that the insurer has been authorized to inform the Franchisor in the event any
policies lapse or are cancelled. The Franchisor has the right to change the minimum amount of insurance
the Franchisee is required to maintain by giving the Franchisee prior reasonable notice, giving due
consideration to what is reasonable and customary             in the similar business.      The Franchisee’s failure to
comply      with the insurance     provisions    set forth herein shall be deemed           a material    breach    of this
Agreement.       In the event of any      lapse in insurance coverage,        in addition to all other remedies,        the
Franchisor     shall   have   the right to demand       that the Franchisee        cease   operations    of the ROCKY
MOUNTAIN CHOCOLATE FACTORY Store until coverage is reinstated, or, in the alternative, pay any
delinquencies in premium payments and charge the same back to the Franchisee.

                                  22,       MISCELLANEOUS PROVISIONS

22.1     Governing Law/Consent to Venue and Jurisdiction.                      Except to the extent governed by the
United States Trademark Act of 1946 (Lanham Act, 15 U.S.C. §§1051 et seq.) or other federal law, this
Agreement shall be interpreted under the laws of the state of Colorado and any disputes between the
parties shall be governed by and determined in accordance with the substantive laws of the state of
Colorado, which laws shall prevail in the event of any conflict of law. The Franchisee and the Franchisor
have negotiated regarding a forum in which to resolve any disputes that may arise between them and have
agreed to select a forum in order to promote stability in their relationship. Therefore, if a claim is asserted
in a legal proceeding involving the Franchisee, its officers, directors, partners or managers (collectively,
“Franchisee      Affiliates”) and the Franchisor, its officers, directors or sales employees                (collectively,
“Franchisor Affiliates”), all parties agree that the exclusive venue for disputes between them shall be in
the state courts in La Plata County, Colorado and federal courts located in Colorado and each waive any
objections they may have to the personal jurisdiction of or venue in the state courts in La Plata County
and federal courts located in Colorado.         The Franchisor, the Franchisor Affiliates, the Franchisee and the
Franchisee Affiliates each waive their rights to a trial by jury.

22.2     Cumulative Rights.        The rights and remedies of the Franchisor and the Franchisee hereunder are
cumulative and no exercise or enforcement by either of them of any right or remedy hereunder shall
preclude the exercise or enforcement by either of them of any other right or remedy hereunder which they
are entitled by law to enforce.

22.3     Modification.        The Franchisor and/or the Franchisee may modify this Agreement only upon
execution     of a written    agreement   between     the two    parties.    The   Franchisee   acknowledges       that the
Franchisor may modify its standards and specifications and operating and marketing techniques set forth
in the Operations Manual unilaterally under any conditions and to the extent in which the Franchisor, in
its sole discretion, deems necessary to protect, promote, or improve the Marks and the quality of the
Licensed Methods, but under no circumstances will such modifications be made arbitrarily without such
determination.

22.4     Entire Agreement.         This Agreement,       including all exhibits and addenda hereto, contains the
entire agreement between the parties and supersedes any and all prior agreements concerning the subject




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matter hereof. The Franchisee agrees and understands that the Franchisor shall not be liable or obligated
for any oral representations or commitments made prior to the execution hereof or for claims of negligent
or fraudulent misrepresentation based on any such oral representations or commitments and that no
modifications of this Agreement shall be effective except those in writing and signed by both parties. The
Franchisor does not authorize and will not be bound by any representation of any nature other than those
expressed in this Agreement and in the most recent franchise disclosure document provided by the
Franchisor or its representatives. The Franchisee further acknowledges and agrees that no representations
have been made to it by the Franchisor regarding projected sales volumes, market potential, revenues,
profits   of the   Franchisee’s     ROCKY     MOUNTAIN         CHOCOLATE       FACTORY       Store,   or   operational
assistance other than as stated in this Agreement or in the most recent franchise disclosure document
provided by the Franchisor or its representatives.

22.5    Delegation by the Franchisor. From time to time, the Franchisor shall have the right to delegate
the performance of any portion or all of its obligations and duties hereunder to third parties, whether the
same are agents of the Franchisor or independent contractors which the Franchisor has contracted with to
provide such services. The Franchisee agrees in advance to any such delegation by the Franchisor of any
portion or all of its obligations and duties hereunder. The Franchisee acknowledges and agrees that any
delegation by the Franchisor of its duties or obligations does not assign or confer any rights under this
Agreement to third parties and that there are no third-party beneficiaries of this Agreement.

22.6    Effective Date. This Agreement shall not be effective until accepted by the Franchisor as
evidenced by dating and signing by an officer of the Franchisor.

22.7     Review of Agreement. The Franchisee acknowledges that it had a copy of this Agreement in its
possession for a period of time not fewer than 10 full business days, or 14 calendar days, whichever is
applicable, during which time the Franchisee has had the opportunity to submit same for professional
review and advice of the Franchisee’s choosing prior to freely executing this Agreement.

22.8      Attorneys’ Fees.        In the event of any dispute between the parties to this Agreement, including
any dispute involving an officer, director, employee or managing agent of a party to this Agreement, in
addition to all other remedies, the non-prevailing party will pay the prevailing party all costs and
expenses, including reasonable attorneys’ fees, incurred by the prevailing party in any legal action,
arbitration or other proceeding as a result of such dispute.

22.9      Injunctive Relief.       Nothing herein shall prevent the Franchisor or the Franchisee from seeking
injunctive relief to prevent irreparable harm, in addition to all other remedies.      [f the Franchisor seeks an
injunction, the Franchisor will not be required to post a bond in excess of $500.

22.10     No Waiver.     No waiver of any condition or covenant contained in this Agreement or failure to
exercise a right or remedy by the Franchisor or the Franchisee shall be considered to imply or constitute a
further waiver by the Franchisor or the Franchisee of the same or any other condition, covenant, right, or
remedy.

22.11     No Right to Set Off.         The Franchisee shall not be allowed to set off amounts owed to the
Franchisor for Royalties, fees or other amounts         due hereunder, against any monies owed        to Franchisee,
nor shall the Franchisee in any event withhold such amounts due to any alleged nonperformance by the
Franchisor hereunder, which right of set off is hereby expressly waived by the Franchisee.

22.12   Invalidity. If any provision of this Agreement is held invalid by any tribunal in a final decision
from which no appeal is or can be taken, such provision shall be deemed modified to eliminate the invalid




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element and, as so modified, such provision shall be deemed a part of this Agreement as though originally
included. The remaining provisions of this Agreement shall not be affected by such modification.

22.13    Notices. All notices required to be given under this Agreement shall be given in writing, by
certified mail, return receipt requested, or by an overnight delivery service providing documentation of
receipt, at the address set forth in the first paragraph of this Agreement or at such other addresses as the
Franchisor or the Franchisee may designate from time to time, and shall be effectively given when
deposited in the United States mail, postage prepaid, or when received via overnight delivery, as may be
applicable.

22.14    Payment of Taxes.    The Franchisee shall reimburse the Franchisor, or its affiliates and designees,
promptly and when due, the amount of all sales taxes, use taxes, personal property taxes and similar taxes
imposed upon, required to be collected or paid by the Franchisor, or its affiliates or designees, on account
of services or goods furnished by the Franchisor, its affiliates or designees, to the Franchisee through sale,
lease or otherwise, or on account of collection by the Franchisor, its affiliates or designees, of the initial
franchise fee, Royalties, Marketing and Promotion Fees or any other payments made by the Franchisee to
the Franchisor required under the terms of this Agreement.

22.15 Acknowledgement. BEFORE SIGNING THIS AGREEMENT, THE FRANCHISEE SHOULD
READ IT CAREFULLY WITH THE ASSISTANCE OF LEGAL COUNSEL. THE FRANCHISEE
ACKNOWLEDGES THAT:

       (A)  THE SUCCESS    OF THE BUSINESS VENTURE  CONTEMPLATED    HEREIN
INVOLVES SUBSTANTIAL RISKS AND DEPENDS UPON THE FRANCHISEE’S ABILITY AS AN
INDEPENDENT BUSINESS PERSON AND ITS ACTIVE PARTICIPATION IN THE DAILY
AFFAIRS OF THE BUSINESS; AND

      (B)   NO ASSURANCE OR WARRANTY, EXPRESS                           OR IMPLIED, HAS BEEN GIVEN
AS TO THE POTENTIAL SUCCESS OF SUCH BUSINESS                            VENTURE OR THE EARNINGS
LIKELY TO BE ACHIEVED; AND

      <)    NO   STATEMENT,   REPRESENTATION    OR  OTHER  ACT, EVENT   OR
COMMUNICATION, EXCEPT AS SET FORTH IN THIS AGREEMENT, AND IN THE MOST
RECENT   FRANCHISE  DISCLOSURE  DOCUMENT    SUPPLIED TO THE FRANCHISEE,  IS
BINDING ON THE FRANCHISOR IN CONNECTION WITH THE SUBJECT MATTER OF THIS
AGREEMENT.




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             IN WITNESS WHEREOF,   the parties have executed this Agreement as of the date first above
set forth.

                                                      ROCKY MOUNTAIN CHOCOLATE
                                                      FACTORY, INC.

Date:   G41
                                                      Bryan J. nf              Chief Operating Officer

                                                      FRANCHISEE:E

Date:        2-21-2010                                 (2-2
                                                      Aaron L. Blackmer, Individually


Date:        2-2/1                                                  yy
                                                        achelle A. Blackmer,
                                                                     Individually


Date:         2-21-28]
                                                      Brice E. Blackmer, Individually
                                                          &   -




                                                      Candice L. Blackmer, Individually
Date:         7-4-     {/                             AND: ARCB LLC




Date:        2-20    - 1




Date:        7 “2/-¢/
                                                        achelle A. Blackmer, Member


Date:          2 A   - zo()                              bun
                                                      Bruce E. Blackmer, Member
                                                                               ID
Date:         AZ- 21 - [
                                                      Candice L. Blackmer, Member




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                                                                                             EXHIBIT I
                                                                              TO FRANCHISE AGREEMENT


                   ADDENDUM TO ROCKY MOUNTAIN CHOCOLATE FACTORY, INC,
                                  FRANCHISE AGREEMENT


            1.       Franchised Location. The Franchised Location, set forth in Section 3.1 of the Agreement
shall be:        345 Riverpark Square, 808 West Main, Spokane, WA              99201 and the Store configuration
shall be: A Kiosk 240.

            2.       Initial Franchise Fee.   The amount of the initial franchise fee, set forth in Section 4.1 of
the Agreement, shall be: $$ 14,500.

            Fully executed this /¥_ day of erate                    ,20//

                                                             ROCKY MOUNTAIN CHOCOLATE
                                                             FACTORY, INC.

                                                             By:                          Mrz,
Date:   <3-/¢ -//
                                                             Bryan J. Momma Chief Operafing Officer

                                                             a

Date:       A" 21-2044                                             nl
                                                             Aaron
                                                              io ZAC                Individually


Date:   _o? ~ 2/-(/
                                                               atid
                                                                  Blackmey,a


Date:        2    2-201]                                      .
                                                             Bruce E. le


Date:            2-21- i                                           Zid,        Fs         Kn.
                                                             Candice L. Blackmer, Individually

                                                             AND: ARCB LLC


Date:       2-21-20i                                                                      i




owe 2-2 (|                                                         CL                AT
                                                             R achelle A. Blackmer, Member




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Date:    2+   21 = 201]
                                          Bruce E. Blackmer,   Member



Date:    2 -Z1-1
                                          Candice L. Blackmer, Member




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                                                                                                         EXHIBIT II
                                                                                          TO FRANCHISE AGREEMENT

                 GUARANTY AND ASSUMPTION OF FRANCHISEE’S OBLIGATIONS

            In consideration    of, and as an inducement to, the execution                of the above      Franchise Agreement
(the   “Agreement”)        by   Rocky   Mountain        Chocolate     Factory,     Inc.     (the   “Franchisor™),       each   of the
undersigned hereby personally and unconditionally:

            Guarantees    to the   Franchisor   and     its successors   and     assigns,     for the term        of the Agreement,
including renewals thereof, that the franchisee, as that term is defined in the Agreement (“Franchisee”),
shall punctually pay and perform each and every undertaking, agreement and covenant set forth in the
Agreement; and

         Agrees to be personally          bound       by, and   personally     liable for the breach         of, each and every
provision in the Agreement.

Each of the undersigned waives the following:

            1.      Acceptance and notice of acceptance by the Franchisor of the foregoing undertaking;

        2.      Notice of demand for payment of any indebtedness or nonperformance of any obligations
hereby guaranteed;

        3      Protest and notice of default to any                      party     with      respect   to   the     indebtedness    or
nonperformance of any obligations hereby guaranteed;

            4.      Any right he or she may have to require that any action be brought against Franchisee or
any other person as a condition of liability; and

            5.      Any    and all other notices and legal or equitable defenses to which                         he or she may be
entitled.

Each of the undersigned consents and agrees that:

            1.      His or her direct and immediate liability under this guaranty shall be joint and several;

       2.       He or she shall render any payment or performance required under the Agreement upon
demand if Franchisee fails or refuses punctually to do so;

        3.      Such liability shall not be contingent or conditioned upon pursuit by the Franchisor of
any remedies against Franchisee or any other person; and

         4.       Such liability shall not be diminished, relieved or otherwise affected by any extension of
time, credit or other indulgence which the Franchisor may from time to time grant to Franchisee or to any
other person, including without limitation the acceptance of any partial payment or performance, or the
compromise or release of any claims, none of which shall in any way modify or amend this guaranty,
which shall be continuing and irrevocable during the term of the Agreement, including renewals thereof.




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         5.      His or her obligation and liability hereunder shall not be affected by any amendment or
modification of the Agreement and he or she has no right to approve or consent to any such amendment
or modification.

         6.      Except to the extent governed by the United States Trademark Act of 1946 (Lanham Act,
 15 U.S.C. §§1051 et seq.) or other federal law, this guaranty shall be interpreted under the laws of the
state of Colorado and any disputes between the Franchisor and any party hereto shall be governed by and
determined in accordance with the substantive laws of the state of Colorado, which laws shall prevail in
the event of any conflict of law. The Franchisor and all guarantors agree that the exclusive venue for
disputes between them shall be in the state courts in La Plata County, Colorado and federal courts located
in Colorado and each waive any objections they may have to the personal jurisdiction of or venue in the
state courts in La Plata County and federal courts located in Colorado. The Franchisor and each guarantor
waive their rights to a trial by jury.

         IN WITNESS WHEREOF, each of the undersigned has affixed his or her signature effective on
the same day and year as the Agreement was executed.

N                                                        a


         L   teal          fore                         i                      —




        dun href                                            fo
                                                         Rachelle A. Blackmer, Individually


                                                         Bruce E. Blackmer, Individually

2Se)                   Lro—                               ERY I
                                                         Candice L. Blackmer, Individually




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                                                                                               EXHIBIT II
                                                                                 TO FRANCHISE AGREEMENT

                                      STATEMENT OF OWNERSHIP

Franchisee: Aaron L. Blackmer, Rachelle A. Blackmer, Bruce E. Blackmer, Candice L. Blackmer
and ARCB, LLC

                                             Form of Ownership
                                                (Check One)
                                                                                                           Limited
                 Individual                   Partnership                      Corporation                 Liability
                                                                                                           Company

If a Partnership, provide name and address of each partner showing percentage owned, whether active in
management, and indicate the state in which the partnership was formed.

If a Limited Liability Company, provide name and address of each member and each manager showing
percentage owned and indicate the state in which the Limited Liability Company was formed.

If a Corporation, give the state and date of incorporation, the names and addresses of each officer and
director, and list the names and addresses of every shareholder showing                  what percentage of stock is
owned by each.

ARCB    LLC, 9608 E. Rockcrest Lane, Spokane, WA                    99206 - A Washington             Limited Liability
Company

Aaron L. Blackmer, 13309 E. 7" Avenue, Spokane, WA              99216 — Member

Rachelle A. Blackmer, 13309 E 7h Avenue, S pokane, WA                99216 — Member

Bruce E. Blackmer, 9608 E. Rockcrest Lane, Spokane, WA                   99206 - Member

Candice L. Blackmer, 9608 E. Rockcrest Lane, Spokane, WA 99206 - Member

Franchisee   acknowledges     that this Statement   of Ownership            applies   to the ROCKY        MOUNTAIN
CHOCOLATE       FACTORY Store authorized under the Franchise Agreement.

Use additional sheets if necessary.   Any and all changes to the above information must be reported to the



       2-01-20                                                  (2g
Franchisor in writing.


Date                                                                on L.        BYackmer, Individually


   2-2-7                                                                    “or                ST
Date                                                           athelle A. Blackmer, Individually


       2, - 21-2]                                                   Va
Date                                                         Bruce E. Blackmer, Individually


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         9-21-14                        Cori               Black pier
Date                                    Candice L. Blackmer , Individually

                                        AND:    ARCB LLC


       2-21 - 2047
Date




Date
       22
       2-2         —~20(]
Date                                    Bruce E. Blackmer, Member



         2-21-1i                                                      ALN
Date                                    Candice L. Blackmer, Vice President




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                                                                                        EXHIBIT IV
                                                                          TO FRANCHISE AGREEMENT

                                         ADDENDUM TO
                            ROCKY MOUNTAIN CHOCOLATE FACTORY, INC.
                                     FRANCHISE AGREEMENT

                                   AUTHORIZATION AGREEMENT
                                FOR ELECTRONIC FUNDS TRANSFERS



The undersigned depositor (“Depositor”) hereby (1) authorizes Rocky Mountain Chocolate Factory, Inc.
(“Company”) to initiate debit entries and/or credit correction entries to the undersigned’s checking and/or
savings account indicated below and (2) authorizes the depository designated below (“Depository”) to
debit such account pursuant to Company's instructions. Debit entries shall be limited to past due amounts
owed by Depositor to Company arising from or related to the Franchise Agreement between Depositor
and Company dated rs fvug wp 20,204          .


  Washiacton Trust                 Bank                        Selliyay     [Reb 12 ranch
Depository                                                    Branch


 Spokane Val ley                                                Wh                              99037
City '                                                        State                                Zip Code

            :
        [25000        89                                                                 200965
                                                                                              I 3iok
Bank Transit      ABA Number                                                               Account Number

This authority is to remain in full force and effect until Depository has received joint written notification
from Company and Depositor of the Depositor’s termination of such authority in such time and in such
manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
Depository shall provide Company and Depositor with 30 days’ prior written notice of the termination of
this authority.    [f an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the
right to have the amount of such entry credited to such account by Depository, if (a) within 15 calendar
days following the date on which Depository sent to Depositor a statement of account or a written notice
pertaining to such entry or (b) 45 days after posting, whichever occurs first, Depositor shall have sent to
Depository a written notice identifying such entry, stating that such entry was in error and requesting
Depository to credit the amount thereof to such account. These rights are in addition to any rights
Depositor may have under federal and state banking laws.

Aaron L. Blackmer, Rachelle A. Blackmer, Bruce E. Blackmer, Candice L.. Blackmer & ARCB            LLC
DEPOSITOR (Print Name)

By: Candice             L      Blackie
Its:     Member
Date:        2 -2(-1




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                                                                                        EXHIBIT V
                                                                     TO THE FRANCHISE AGREEMENT

                     PERMIT, LICENSE AND CONSTRUCTION                   CERTIFICATE

        Franchisor and Franchisee are parties to a Franchise Agreement dated                        , 20    for
the development and operation of ROCKY MOUNTAIN CHOCOLATE FACTORY                              Store located at
                                                                               (the   “Franchised   Location”).
In accordance with Section 5.6 of the Franchise Agreement, Franchisee certifies to Franchisor that the
Franchised Location    complies with all applicable federal, state and       local laws, statutes, codes, rules,
regulations and standards including, but not limited to, the federal Americans with Disabilities Act and
any similar state or local laws. The Franchisee has obtained all such permits and certifications as may be
required for the lawful construction and operation of the ROCKY MOUNTAIN CHOCOLATE
FACTORY Store, together with all certifications from government authorities having jurisdiction over the
site that all requirements for construction and operation have been met, including without limitation,
zoning, access, sign, health, safety requirements, building and other required construction permits,
licenses to do business, sales tax permits, health and sanitation permits and ratings and fire clearances.
The Franchisee has obtained all customary contractors’ sworn statements and partial and final lien
waivers for construction, remodeling, decorating and installation of equipment at the Franchised
Location.   The Franchisee acknowledges that it is an independent contractor and that the requirement of
this certification does not constitute ownership, control, leasing or operation of the Store or the
Franchised Location by the Franchisor, but rather provides notice to Franchisor that the Franchisee has
complied with all applicable laws.      The Franchisee asserts that Franchisor may justifiably rely on the
information contained in this certificate.

                                                         FRANCHISEE:              g

                                                           a           pli
                                                         Aaron L. Blackmer, Individually


                                                                LAEL —
                                                           achelle A. Blackmer, Individually



                                                         Bruce E. Blackmer, Individually



                                                         Candice L. Blackmer, Individually


                                                         AND: ARCB LLC


                                                            a. A
                                                         Aaron L. Blackmer, Member




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                                                                Member



                                           A                  00
                                         Bruce E. Blackmer,    Member



                                           (2   ctiio Pe loch             mor
                                         Candice L. Blacknfer, Member




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                                                                                                              EXHIBIT VI
                                                                                                TO FRANCHISE AGREEMENT

                          CONFIDENTIALITY AND NONCOMPETITION AGREEMENT

            AGREEMENT,              dated                               , 20___, by and between Rocky Mountain Chocolate
Factory, Inc. (“Franchisor”) and Aaron L. Blackmer, Rachelle A. Blackmer, Bruce E. Blackmer,
Candice L. Blackmer, individually and ARCB LLC, a Washington Limited Liability Company, a(n}
(directors, officer, partner, principal, employee, agent or stockholder] of                           (the
“Franchisee”). All capitalized terms not otherwise defined herein shall have the meanings set forth in the
Franchise Agreement, defined below.

            The Franchisor has granted to the Franchisee, pursuant to that certain Franchise Agreement dated
                               , 20__, (the “Franchise        Agreement”),           the right to operate     a ROCKY            MOUNTAIN
CHOCOLATE FACTORY Store. The undersigned, in consideration of the receipt and/or use of the
Operations Manual and other information proprietary to the Franchisor, including but not limited to
methods,         strategies and techniques developed                  by the Franchisor relating to operations,                    marketing,
training,        advertising,    trade   secrets,   recipes     and    other     confidential     data   (collectively       referred    to as
“Proprietary Information”), agrees with the Franchisor as follows:

        (nN    The undersigned acknowledges that the Operations Manual and other Proprietary
Information now or hereafter provided to Franchisee by the Franchisor is proprietary to the Franchisor
and must be held in the utmost and strictest confidence.

         2)     The undersigned represents and agrees that the undersigned will not, without the prior
written consent of the Franchisor, either:

                        (i)        Duplicate or otherwise reproduce                  the Operations      Manual        or other Proprietary
            Information;

                        (ii)       Deliver    or    make      available        the   Operations      Manual       or     other    Proprietary
            Information to any person other than an authorized representative of the Franchisor;

                     (ii)   Discuss or otherwise disclose the contents of the Operations Manual or other
            Proprietary Information to any person other than an authorized representative of the Franchisor;
            or

                        (iv)       Use the Operations Manual              or other Proprietary Information to his, her or its
            commercial advantage other than in connection with the operation of the franchise created and
            granted by the Franchise Agreement.

            3)          While the Franchise Agreement is in effect, neither the undersigned, nor any member of
his or her immediate family, shall engage in, or participate as an owner, officer, partner, director, agent,
employee, shareholder, member, manager, or otherwise in any other Competitive Business without having
first obtained the Franchisor’s written consent.  For the purposes of this Agreement, “Competitive
Business” shall mean any business operating, or granting franchises or licenses to others to operate, a
retail, wholesale, distribution or manufacturing business with either of the following attributes: (i) a
business deriving a total of 10% or more of its gross receipts from the sale, processing or manufacturing
of one or a combination of any of the following: boxed chocolate candies; or products which are the same
as or substantially similar to Store Candy; or products made with recipes, or processes, included in the
Operations Manual; or (ii) a business devoting a total of 10% or more of its retail display space to one or



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a combination of the following:     boxed chocolate candies; or products which are the same as or
substantially similar to Store Candy; or products made with recipes, or processes, included in the
Operations Manual.

         4       The undersigned   has acquired from the Franchisor confidential         information   regarding
Franchisor’s trade secrets and franchised methods      which,    in the event of a termination of the Franchise
Agreement, could be used to injure the Franchisor. As a result, neither the undersigned, nor any member
of his or her immediate family, shall, for a period of 2 years from the date of termination, transfer or
expiration of the Franchise Agreement, without having first obtained the Franchisor’s written consent,
engage in or participate as an owner, officer, partner, director, agent, employee, shareholder, member,
manager, or otherwise in any Competitive Business which is located or operating, as of the date of such
termination, transfer or expiration, within a 10-mile radius of the Franchisee’s former Franchised
Location as defined in the Franchise Agreement, or within a 10-mile radius of any other franchised or
company-owned ROCKY MOUNTAIN CHOCOLATE                          FACTORY     Store, unless such right is granted
pursuant to a separate agreement with the Franchisor.

         (5)     The undersigned agrees that during the term of the Franchise Agreement, and for a period
of 2 years thereafter, it shall in no way divert or attempt to divert the business of customers, or interfere
with the business relationship established with customers of the Franchisee’s ROCKY MOUNTAIN
CHOCOLATE FACTORY Store or of any Competitive Business.

         (6)      The undersigned agrees that all copyrightable works created by the undersigned, the
Franchisee or any of its owners, officers or employees in connection with the Store shall be the sole
property of the Franchisor. The Franchisee has assigned all proprietary rights, including copyrights, in
these works to the Franchisor without additional consideration. The undersigned and the Franchisee
hereby assign and will execute such additional assignments or documentation to effectuate the assignment
of all intellectual property, inventions, copyrights and trade secrets developed in part or in whole in
relation to the Store, during the term of the Agreement, as the Franchisor may deem necessary in order to
enable it, at its expense, to apply for, prosecute and obtain copyrights, patents or other proprietary rights
in the United States and in foreign countries or in order to transfer to the Franchisor all right, title and
interest in said property. The undersigned and the Franchisee shall promptly disclose to the Franchisor all
inventions, discoveries, improvements, recipes, creations, patents, copyrights, trademarks and confidential
information relating to the Store which it or any of its owners, officers or employees has made or may
make solely, jointly or commonly with others and shall promptly create a written record of the same. In
addition to the foregoing, the undersigned and the Franchisee acknowledge and agree that any
improvements or modifications, whether or not copyrightable, directly or indirectly related to the Store,
shall be deemed to be a part of the Licensed Methods and shall inure to the benefit of the Franchisor.

         (Nn     The undersigned agrees that it shall not take any action or make any statements to any
third parties that would constitute a criticism, denigration or disparagement of the Franchisor or its
Licensed Methods or would tend to be injurious to the reputation or goodwill of the Franchisor or its
Marks, or which in any manner may interfere with the business affairs or business relations of the
Franchisor.




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         IN WITNESS    WHEREOF,   this Agreement has been executed by the undersigned as of the date
set forth above.

                                                        AGREED TO BY:



                                                        yz       LoIndividually



                                                                 Lgl                A
                                                      (RachelleA. Blackme       Individually




                                                        Bruce E. Blackmer, Individually


                                                       Conte          %. Hector
                                                       CandiceL. Blackmer , Individually
                                                        AND: ARCB LLC



                                                        Aar        lackmer, Member




                                                        Rhchelle A. Blackmer,       Member



                                                        Bruce E. Blackmer, Member



                                                         Coptic            A [adres
                                                        Candice L. Blackmer, Member

                                                        ROCKY MOUNTAIN CHOCOLATE
                                                        FACTORY, INC.


                                                        By: Sy                  /
                                                        Bryan J. Merryjnan, Chief Operaging Officer

                                                        Franchisee Name(s): Aaron LJ Blackmer,
                                                        Rachelle A. Blackmer, BrucelE. Blackmer
                                                        and Candice L. Blackmer

                                                        Store Location: Spokane, Washington,
                                                                    Riverpark Square


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                                                                            55 CORPORATE      Wot: 0.6 LBS  SPECIAL:                       oe
        ROCKY    MOUNTAIN     CHOCOLATE         FACTORY.   INC,                               Dv:           0.00    Toran:                 2%

        265 TURNER DRIVE                                                                 Sve        Roa TER 162
        DURANGO.     COLORADO      81303

        TEL: 970.259.0554 + FAX: 970.382.7371


                                                                                                                   Rockl Mountz;           x
                                                                                                            (CHOCOLATE FACTORY,
                                                                                                               —_—
                                                                                                                a”




       Via Federal Express

   March 25, 2011




   Mr. and Mrs. Aaron Blackmer
   Mr. and Mrs. Bruce Blackmer
       13309 E. 7%
   Spokane          Valley, WA 99216

   RE:            Rocky Mountain Chocolate Factory
                  Spokane, Washington

   Dear Aaron, Rachelle, Bruce and Candice:

   Enclosed is a fully executed copy of the Franchise Agreement for the Rocky Mountain
   Chocolate Factory store in Spokane, Washington.                               The effective date of the agreement
  will be March 14, 2011, with an expiration date of March 14, 2021 .                                                                  |

  As always, if I can be of further assistance, please do not hesitate to call me at (970) 382-
  7324.


  Kindest regards,
                                                                                                                                   .
   \    So.               4




  Virginia Perez
  Corporate Secretary

  Enclosure




                                                                     ref. ecom
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                                                  Ref: of 55                Date: 15Febii        SHIPPING:          5.50
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                                                  Dep: CORPORATE            Mat: 1.2 LBS         SPECIAL :          0.55
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February 15, , 2011                                                             :         ro   eur
                                                                                           CHOCOLATE FACTORY,
                                                                                                     a




Mr. and Mrs. Aaron Blackmer
Mr. and Mrs. Bruce Blackmer
13309 E. 7"
Spokane Valley, WA 99216

RE:         Rocky Mountain Chocolate Factory
            Spokane, Washington

Dear Aaron, Rachelle, Bruce and Candice:

Enclosed please find two copies of the Franchise Agreement for the Rocky Mountain Chocolate
Factory store in Spokane Washington. Please sign all copies where indicated and have your
signature witnessed on Exhibit II (the witness does not need to be a notary). It is a legal
requirement that you wait 5 business days before returning the documents to us. After that
period, please return both agreements along with a check made payable to Rocky Mountain
Chocolate Factory, Inc., in the amount of $14,500.

Please note that Exhibit IV, Authorization Agreement for Pre-arranged Payments (Direct
Debits), is flagged and must be completed and signed as the Depositor when returning the
Franchise Agreements.      Please refer to Section 11.3, Royalty Payments, for additional
information.

We are excited about your desire to open a Rocky Mountain Chocolate Factory store. Please be
advised, however, that in order for us to consider you the franchisee for this location, we must
receive the signed Franchise Agreements no later than March 15, 2011.

Please return the signed Franchise Agreements in the enclosed Federal Express Envelope.

Please feel free to contact me at (970) 259-0554 should you have any questions or concerns.

Sincerely,


Vie aa
Greg Pope
Sr. Vice President, Franchise Development
Rocky Mountain Chocolate Factory, Inc.

cc: Kraig Carlson

                                            rincf.com
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Case No. 1:22-cv-00435-CMA-SKC                                 Document 1-1                     filed 02/18/22                   USDC Colorado
                                                               pg 55 of 55




                                                                 RECEIPT
                                                          (Return this copy to us)
                                                                                                         und other information in
        This Disclosure Document summarizes certain provisions of the franchise agreement
        plain knguage. Read this Disclosure Document and all agreements carcfully.
                                                                                                                  Document to you
        If Rocky Mountain Chocolate Factory offers you a franchise, it must provide this Disclosure
                                                                                                                       or an affiliate
         14 calendar days before yao sign a binding agreement with, or make a payment to, the franchisor
        in connection with the proposed franchise sale.
                                                                                                                at the carlier of the
        Maryland, New York and Rhode Island require that we give you this Disclosure Document
              personal  mecting  or  10  business   days   before   the execution    of the franchise or  other   agmement or the
        first
        payment of any   consideratio n that relates  to the  franchise  rolationship.
                                                                                                          10 business days before
        Michigan and Weshington require that we give you this Disclosure Document at least
        the execution of any binding frnchise          or other agmement or the payment          of amy consideration, whichever
        occurs first.
                                                                                          on time or if it contnins a false
        If Rocky Mountain Chocolate Factory does not deliver this Disclosure Document
           mislezding statement, or a material omission, a violation of  federal and state lew may have occurred and
        or
                                                                                      the state ageocy listed on
         should be reported to the Feder! Trade Commission, Washington D.C. 20580 and
        Exhibit4
                                                                                          Durango, Colorado 81303,
         The franchisor is Rocky Mountain Chocolate Factory, located at 265 Turner Drive,
         Telephone: (970) 259-0554.
         Issuance date: June 16, 2010.
                                                                                                                       located at 265
         The franchise sellex(s) for this offering arc
                                                                                                                                  a.
         Fumes Drive, Durango, Colorado 81303, Telephone (970) 259-0554, and/or                                              .
         located Bt
                                                                                      on Exhibit A to seceive service of
         Rocky Mountain Chocolate Factory authorizes the respective agents identified
         process for it in the particular state.
                                                                                                 registration states on the
         1 ceived & Disclosure Document dated June 16, 2010, and effective in the franchise
                                                                                             Exhibits:
         dates noted an the page following the Stare Cover Page, that included the following
                                                                     H-3       Addendum to Fremchise Agmement — Online               Order
         A         List of Sta Agencies/A gents for Service
                   of Proce ss                                                 Fulfillment Progrum
          B        Franchise Agrenient                               Hd        Gift Card Program Agreement
         Cc        List of Franchisees                               kl        Amendment to Franchise Agreement -~ Renawal
                                 WhozesHove Lefithe Sysem            2         Amendment to Frarchise Agreeme        nt
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          D        Franchis
         BE        Financial Stnements                               |]        Amendment to Franchise Agresmweat - Relocation
          F        Operutions Manunl Table of Contents               J         General Bek nse
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         Hl        Addendum to Frunchise Agmeement —                 L         State Addenda and Riders to Disclosure Document,
                   Sarellie Stores                                             Franchise Agreement and Other Exhibits
          H2       Addendum to Franchise Agreement —                 M         Closing Acknowledgment
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                                                                                        FEA
                                                                            Whelle                   PBlactmer
                                                                           Print Name
                                                                                                                 Durango,
          You may return the signed receipt cither by signing, dating aad mailing it wo 263 Turner Drive,
                                by faxing a copy of the signed and dated reocipt to Rocky Mountain Chocolate Factory,  Inc.
          Colorado 81303,    or
          at (970) 259-5805.

             DMVEST #7583430vi
